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1                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
2
3        ***************************************************************
4        KURIAN DAVID, ET AL.
5                                     CIVIL ACTION NO. 08-1220
         VERSUS                       SECTION “E”
6                                     NEW ORLEANS, LOUISIANA
                                      TUESDAY, JANUARY 20, 2015, 8:30 A.M.
7
         SIGNAL INTERNATIONAL,
8        LLC, ET AL.
9
         EQUAL EMPLOYMENT
10       OPPORTUNITY COMMISSION
11                                      CIVIL ACTION NO. 12-557
         VERSUS                         SECTION "E"
12
13       SIGNAL INTERNATIONAL,
         LLC, ET AL.
14
15       LAKSHMANAN PONNAYAN ACHARI,
         ET AL.
16
                                        CIVIL ACTION NO. 13-6218
17       VERSUS                         C/W 13-6219, 13-6220,
                                        13-6221, 14-732
18                                      SECTION "E"
19       SIGNAL INTERNATIONAL, LLC, ET AL
20
21       APPLIES TO:    DAVID V. SIGNAL
                        (NO. 08-1220)
22
         **************************************************************
23
                                DAY 6 MORNING SESSION
24                      TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                       HEARD BEFORE THE HONORABLE SUSIE MORGAN
25                          UNITED STATES DISTRICT JUDGE

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         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY.         TRANSCRIPT
15       PRODUCED BY COMPUTER.
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24
25

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           1                                P-R-O-C-E-E-D-I-N-G-S
           2                             TUESDAY, JANUARY 20, 2015
           3                           M O R N I N G     S E S S I O N
           4                               (COURT CALLED TO ORDER)
           5
           6
08:36:51   7                THE DEPUTY CLERK:     Everyone rise, please.
08:36:59   8                THE COURT:    All right.    Have a seat.
08:37:02   9                       I want to take care of some housekeeping before
08:37:03 10        we bring the jury in, and also talk to you about a few things.
08:37:07 11                        First, we had exhibits last week with the
08:37:14 12        testimony of Mr. Jacob.      So I think I would like to take care
08:37:18 13        of that first.
08:37:19 14                 MS. TSU:    Good morning, Your Honor.
08:37:23 15                        For plaintiffs, we introduced Exhibits 695, 1015,
08:37:31 16        783, 608, 611, 1217, 1219, 1221, 1215, 1216, 1220, 779, 1218,
08:37:48 17        820, 821, 1889, 1259, 784, 57, 790, 789, 808, 1190, 691 and
08:38:08 18        693, and offer those into evidence.
08:38:14 19                 MR. UNGAR:    Good morning, Your Honor.
08:38:15 20                        Signal offers 2098, 2145, 2020, 1380, 607.
08:38:24 21        Signal offers those into evidence.
08:38:27 22                 MR. CERNIGLIA:     Your Honor, Burnett introduced
08:38:31 23        Exhibits 609, 1483, 1484, and 1501.
08:38:42 24                 THE COURT:    All right.
08:38:42 25                 MR. SHAPIRO:    Good morning, Your Honor.

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08:38:43   1                       Dewan defendants offered only Exhibit 606.
08:38:48   2                THE COURT:    Any objection to any of those?       So those
08:38:52   3       exhibits are admitted.
08:37:25   4                (WHEREUPON, Exhibits 695, 1015, 783, 608, 611, 1217,
08:37:37   5       1219, 1221, 1215, 1216, 1220, 779, 1218, 820, 821, 1889, 1259,
08:37:55   6       784, 57, 790, 789, 808, 1190, 691, 693, 2098, 2145, 2020, 1380,
08:38:22   7       607, 609, 1483, 1484, and 1501 were admitted.)
08:38:55   8                THE COURT:    The next thing I wanted to talk about is I
08:39:01   9       wanted to let you all do some oral argument on the issue of
08:39:04 10        whether we're going to read the testimony of the two plaintiffs
08:39:14 11        who have testified thus far to the jury.
08:39:16 12                        Is Mr. Bhabha in the courtroom?
08:39:24 13                 MS. HANGARTNER:     We haven't seen him yet, Your Honor,
08:39:25 14        this morning.    I know he was supposed to be here.
08:39:27 15                 THE COURT:    Preliminarily, for the future, I want both
08:39:31 16        the plaintiff -- I'm holding everybody responsible for this --
08:39:37 17        to talk to Mr. Bhabha and to the witnesses to make sure that
08:39:44 18        the witnesses answer one sentence at a time and then let the
08:39:49 19        interpreter interpret; that the interpreter speak loudly and
08:39:56 20        slowly and clearly, so that we're sure that everyone can hear
08:40:01 21        and understands; and, that if anyone, any attorney, any counsel
08:40:07 22        for anyone has any reason to believe the jury couldn't hear,
08:40:11 23        they have to object contemporaneously, or they are waiving that
08:40:16 24        objection.
08:40:16 25                        So I'll ask the plaintiffs to make oral argument

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08:40:22   1       first on their response to my inquiry about reading the
08:40:28   2       testimony.
08:40:30   3                MR. HOWARD:    Thank you, Your Honor.
08:40:31   4                       The first point is I think the Court has the
08:40:33   5       discretion to determine what would be appropriate.          For us, the
08:40:37   6       most important thing is that the jury have heard and understood
08:40:42   7       all of the testimony.
08:40:44   8                       We're concerned, though, that spending a day or a
08:40:49   9       day and a half reading back all of that testimony to the jury
08:40:52 10        will prolong an otherwise long proceeding; but, if that's what
08:40:57 11        it takes for the jury to hear and understand what the testimony
08:41:01 12        was, that's what it takes.
08:41:02 13                        What we had suggested was maybe some inquiry of
08:41:07 14        the jury to get a little bit more detail behind the question
08:41:11 15        that was submitted to the Court to see whether it was an
08:41:15 16        instance that a couple of questions and answers couldn't be
08:41:17 17        heard by one or two of the jurors versus the entire panel
08:41:21 18        having difficulty hearing significant amounts of the testimony,
08:41:27 19        which, in our view, would be more than a couple of questions.
08:41:30 20        You know, if it's areas of testimony, then we need to take the
08:41:37 21        measure to make sure they hear it.
08:41:38 22                        What we wouldn't want, though, is for them to
08:41:42 23        say, well, we just didn't hear this one piece, and take the
08:41:46 24        piece out of context.     I think, for example, couldn't we just
08:41:49 25        say, well, we're just going to replay the cross-examination, as

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08:41:51   1       opposed to the testimony in its entirety.
08:41:55   2                THE COURT:    So would you be satisfied if I didn't do
08:41:58   3       anything, or are you affirmatively asking me to do something?
08:42:04   4                MR. HOWARD:    We are affirmatively asking you to make an
08:42:07   5       inquiry of the jury to get clarification as to the extent of
08:42:10   6       the problem, and then, you know, kind of regroup with the
08:42:15   7       parties, and, with that clarification, if the problem seems
08:42:19   8       more extensive than a couple of jurors couldn't hear a couple
08:42:22   9       of the questions, then we would be asking for the testimony to
08:42:27 10        be reread.
08:42:29 11                 THE COURT:    All right.    Thank you.
08:42:30 12                        Ms. Hangartner.
08:42:31 13                 MS. HANGARTNER:     Good morning, Your Honor.
08:42:31 14                 THE COURT:    Good morning.
08:42:33 15                 MS. HANGARTNER:     We actually have a very similar
08:42:35 16        position to Mr. Howard.      We believe -- one of the things that I
08:42:41 17        noted in kind of looking over at the jury is they tended to
08:42:43 18        take a lot of notes.
08:42:44 19                        So I think that they did understand the majority
08:42:47 20        of the questions and answers; however, I would ask the same --
08:42:51 21        or our position is similar to Mr. Howard, in that if you wanted
08:42:55 22        to ask the jury, you know, how deep is this problem, was it
08:43:01 23        pervasive.
08:43:01 24                        One suggestion that I do have, after doing this
08:43:04 25        for eight years, when counsel asks a question that kind of begs

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08:43:08   1       the narrative, it seems like that's when it's most difficult
08:43:11   2       for Bhabha to translate because it tends to be a long string of
08:43:15   3       an explanation instead of kind of just broken up in pieces,
08:43:19   4       parts.
08:43:20   5                       So, that's Signal's position.
08:43:22   6                THE COURT:    So you would like for me to do an inquiry
08:43:25   7       about this problem?
08:43:25   8                MS. HANGARTNER:     Yes, Your Honor.
08:43:27   9                MR. CERNIGLIA:     I would join in the same comments,
08:43:31 10        Your Honor.
08:43:31 11                 THE COURT:    Mr. Shapiro?
08:43:32 12                 MR. SHAPIRO:    Your Honor, I'll join in the same
08:43:36 13        procedures that everyone else has, but I don't have any problem
08:43:41 14        reading the entirety of the testimony to the jury.
08:43:44 15                        I don't know that the fact that maybe some jurors
08:43:47 16        might have been taking notes and others really solves the
08:43:51 17        problem.    I think everybody has to have their own understanding
08:43:53 18        and their own recollection of what the testimony was, whether
08:43:57 19        they wrote it down or not.
08:43:59 20                        They shouldn't rely on other people's notes.
08:44:01 21        They should rely on what they actually heard.
08:44:03 22                 THE COURT:    So are you asking me to do an inquiry of
08:44:06 23        the jury to ask them what the extent of the issue is?
08:44:12 24                 MR. SHAPIRO:    I am, Your Honor, but I'm not sure that
08:44:14 25        that will really solve the problem because they might say,

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08:44:17   1    well, we've got little pieces that we didn't understand.
08:44:20   2                    I agree with Mr. Howard that these little pieces
08:44:24   3    can't be read back in isolation.       It's sort of an all or
08:44:28   4    nothing thing.
08:44:29   5                    I have -- I don't think -- I don't want to rehash
08:44:32   6    the brief brief that I wrote, but I don't think the normal
08:44:39   7    concerns about prolonging the trial are here.        We have a
08:44:44   8    five-week trial.    I think that this could be done in a day,
08:44:47   9    possibly a day and a half.
08:44:49 10                     I think it's important for the jury to understand
08:44:52 11     everything that has been said.      My concern is maybe they have
08:44:57 12     not, so I'm in favor of reading the entirety to the jury.
08:45:01 13              THE COURT:    So even if I did an inquiry and the jurors
08:45:06 14     said, oh, we heard him, we just occasionally, a couple of times
08:45:09 15     I couldn't understand what he said, if that's what happened,
08:45:14 16     your position still would be that we should read the entire
08:45:17 17     testimony of both witnesses?
08:45:20 18              MR. SHAPIRO:    I believe so because I think we need to
08:45:22 19     get it right.    I think the jury needs to understand.       They need
08:45:25 20     to understand what happened, what the testimony was.
08:45:29 21                     As I pointed out in my brief, that if we do this,
08:45:32 22     it needs to happen sooner than later because, instead of
08:45:36 23     deferring it until after Mr. Sabulal's testimony, I think the
08:45:41 24     best time in now.
08:45:44 25              THE COURT:    Well, that's not going to happen because I

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08:45:46   1    haven't decided, and I haven't looked at the transcripts, and I
08:45:49   2    don't know whether you've seen the transcripts of the
08:45:50   3    testimony, so that can't happen.
08:45:53   4                   So does that change your position?
08:45:56   5             MR. SHAPIRO:    No, it does not.    Thank you.
08:46:03   6             THE COURT:    But you all are going to make sure with
08:46:05   7    Mr. Bhabha that he understands the rules from here on out.
08:46:09   8                   I don't want to have to keep telling him over and
08:46:12   9    over again, so you need to make sure that he makes sure, that
08:46:17 10     he's got the microphone right in his mouth, and that he's
08:46:21 11     speaking loudly and clearly.
08:46:22 12              MS. HANGARTNER:    Yes, Your Honor.     Are we going to put
08:46:24 13     the lapel mike on him, again?
08:46:26 14              THE COURT:    I'm going to try the witness' microphone
08:46:29 15     today and see how that works.
08:46:31 16              MS. HANGARTNER:    Thank you, Judge.
08:46:34 17              THE COURT:    On the default judgment, I've put a
08:46:41 18     footnote in my ruling yesterday on Signal's default judgments
08:46:50 19     about the fact that J & M and Global were dissolved years ago.
08:46:54 20                    Did everybody know that but me?
08:47:00 21              MR. WERNER:    Your Honor, the fact that J & M was
08:47:02 22     dissolved, all this, you know, is in our complaint.         It was
08:47:05 23     pled.
08:47:06 24              THE COURT:    I missed that.    How about Global?
08:47:09 25              MR. WERNER:    With respect to Global, I have to

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08:47:11   1    acknowledge that that was an oversight on our part, so I do
08:47:18   2    apologize.
08:47:18   3             THE COURT REPORTER:     Speak up, please.
08:47:18   4             MR. WERNER:    That was an oversight on our part, and I
08:47:18   5    do apologize.
08:47:18   6             THE COURT:    Why don't you come to the microphone.
08:47:21   7                    Am I right that the plaintiffs are seeking a
08:47:25   8    default against J & M and Global?
08:47:29   9             MR. WERNER:    Yes, Your Honor.
08:47:30 10              THE COURT:    A confirmed default?
08:47:32 11              MR. WERNER:    Yes.
08:47:32 12              THE COURT:    So explain to me how you can confirm a
08:47:35 13     default against an entity that does not exist.
08:47:40 14              MR. WERNER:    Well, I think our position is that both
08:47:43 15     Global and J & M did not go through the proper winding down
08:47:47 16     process, and, therefore, we can still sort of continue against
08:47:50 17     the entities.
08:47:51 18                     As far as sort of going more in depth than that,
08:47:56 19     I think we would need to look into that further to -- I have
08:48:01 20     not looked at the law in terms of how that might happen.
08:48:05 21              THE COURT:    Well, I don't understand, for any of you,
08:48:09 22     how you could confirm a default against an entity that doesn't
08:48:13 23     exist because it does not exist.       It's a legal entity.
08:48:16 24                     Now, the issue of under Mississippi law -- they
08:48:20 25     are both Mississippi entities --

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08:48:25   1             MR. WERNER:    That is correct.
08:48:25   2             THE COURT:    -- J & M and Global?     So you would have to
08:48:26   3    look at Mississippi law to see under what circumstances you can
08:48:30   4    still hold the shareholders responsible.
08:48:33   5                   Of course, Mr. Pol is in bankruptcy -- or was, so
08:48:38   6    that's another issue.     But if you all want to pursue that, I
08:48:43   7    think there is no way we can pursue that in this proceeding.
08:48:48   8             MR. WERNER:    I agree.
08:48:49   9             THE COURT:    So, Mr. Weinberger, do you have any
08:48:52 10     argument about getting a default against a defunct entity?
08:48:58 11              MR. WEINBERGER:    Your Honor, I would brief this, but I
08:49:02 12     believe the answer goes something like this, I think.
08:49:06 13                    On this record, these entities exist.        A default
08:49:11 14     judgment could be taken against them.       The problems that the
08:49:14 15     Court is referring to could be considered problems that would
08:49:17 16     arise at the time of execution.
08:49:19 17              THE COURT:    Well, but, you know, I take judicial notice
08:49:22 18     of things that are in the public record.
08:49:22 19              MR. WEINBERGER:    Yes, Your Honor.
08:49:25 20              THE COURT:    The fact that these entities are dissolved
08:49:28 21     is something I've taken judicial notice of.
08:49:31 22                    So, okay, I just wanted to be sure I understood
08:49:34 23     the situation.
08:49:34 24              MR. WEINBERGER:    Thank you, Your Honor.
08:49:40 25              THE COURT:    The jury instructions and the verdict form,

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08:49:44   1    I've looked at those briefly.      My plan is to look at them more
08:49:49   2    carefully, and then I thought maybe we would take them one
08:49:52   3    issue at a time, and maybe have some -- maybe, say, on
08:49:58   4    Thursday, at the end of the day, we'll talk about one of the
08:50:04   5    causes of action.    I think it will help us if we work through
08:50:07   6    them one at a time.     It won't be so overwhelming.
08:50:11   7                   Any objections to that?      I'll let you know which
08:50:16   8    one I want to take first and when we're going to do it, but
08:50:20   9    probably maybe Thursday afternoon.
08:50:22 10                    The objections to the testimony of Kevin Fox
08:50:32 11     Gotham, the plaintiffs filed objections to the designations by
08:50:37 12     the defense.    Would Signal like a chance to respond?
08:50:45 13              MR. RYDBERG:    Yes, Your Honor, just briefly.
08:50:49 14                    Dr. Kevin Fox Gotham intends to offer opinions,
08:50:53 15     if you'll allow them, regarding the housing market, the rental
08:50:56 16     market in Jackson County, specifically.        That's in his report.
08:50:59 17                    As I referenced to the counsel for the plaintiffs
08:51:03 18     on Friday, he relies on data from the Housing and Urban
08:51:08 19     Development, HUD, Department and the RAND Corporation.             It's
08:51:12 20     specific to Jackson County.      It's specific to Pascagoula.
08:51:17 21                    Those reports also cover the other two coastal
08:51:22 22     counties of Mississippi.     Of course, there is no brick wall
08:51:24 23     between Jackson and Harrison County.       That's one market in
08:51:33 24     housing and in everything else along that part of the Gulf
08:51:36 25     Coast.

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08:51:36   1                    Mr. Schnoor testified that Signal's workforce
08:51:40   2    came not just from Jackson County or just from Pascagoula, but
08:51:45   3    from the entire area, so I'll remind everyone of that.
08:51:47   4                    Plaintiffs want the vacancy data -- or suggest
08:51:52   5    that the vacancy data ought to be relied upon or part of the
08:51:56   6    analysis, and Dr. Gotham says no, that that data is not
08:52:01   7    reliable.   It's not reliable in his eyes, and it's not reliable
08:52:04   8    in the field.
08:52:04   9                    So he's not relying on the vacancy data.       He's
08:52:08 10     instead relying on the RAND report, the HUD report, and some
08:52:12 11     FEMA data that's also cited in his expert report.         So that's
08:52:14 12     what we want to ask him about.
08:52:16 13              THE COURT:    Let me look just a second.      I want to ask
08:52:19 14     you about something.
08:52:32 15                     So if I look at the three things that the
08:52:36 16     plaintiff say you told him in an e-mail, that's correct, those
08:52:39 17     are the three things.
08:52:40 18              MR. RYDBERG:    Yes.
08:52:41 19              THE COURT:    Vacancy data is not in that list, and you
08:52:47 20     say he's not going to talk about that.
08:52:49 21              MR. RYDBERG:    He's not going to talk about that because
08:52:51 22     he says that's not reliable data.
08:52:57 23              THE COURT:    If I go back to the report, do I have those
08:53:04 24     studies or the parts of those studies that he wants to rely on?
08:53:09 25              MR. RYDBERG:    He cited it in his report.      I don't

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08:53:10   1    recall whether it's attached.       I do have a copy -- I do have a
08:53:14   2    copy of the RAND report, and I could provide you with a copy of
08:53:19   3    his report, but the copy I have with me in court this morning
08:53:22   4    is marked up.
08:53:23   5             THE COURT:    Let's see.    I have his expert report which
08:53:27   6    was attached to Document 1823, so I'm assuming that's the
08:53:34   7    correct one.    It's got 1823-4 on it?
08:53:38   8             MR. RYDBERG:    It's August 28, 2014, dated?
08:53:43   9             THE COURT:    Yes.
08:53:44 10              MR. RYDBERG:    Okay, yes.
08:53:46 11              THE COURT:    All right.    Well, maybe you could give me
08:53:49 12     copies of what he references in his report that he wants to
08:53:54 13     rely on, like the RAND report and the HUD report -- or the
08:54:00 14     portions of it that are relevant, if they are large reports.
08:54:05 15              MR. RYDBERG:    This is the RAND report, so, if you'll
08:54:08 16     give me some time, I'll go through it and pull out the relevant
08:54:13 17     parts.
08:54:13 18              THE COURT:    If it's just that size, I can take the
08:54:15 19     whole report.
08:54:16 20                     Then the HUD report.    So can you get me the HUD
08:54:21 21     report, or a portion of it?
08:54:23 22              MR. RYDBERG:    I can.
08:54:24 23              THE COURT:    Then I'll decide on that.
08:54:27 24              MR. HOWARD:    Your Honor, if I could be heard just
08:54:29 25     briefly.

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08:54:30   1             THE COURT:    Yes.
08:54:31   2             MR. HOWARD:    I think I heard Your Honor say, and I just
08:54:37   3    wanted to clarify, that what you're asking for is not just the
08:54:39   4    reports, but the specific parts of the reports that
08:54:42   5    specifically talk about vacancy in the relevant time period for
08:54:46   6    Jackson County because that's what we agreed, and your order on
08:54:52   7    the Motion in Limine seemed to indicate, is the relevant
08:54:56   8    geography and relevant time period.
08:54:58   9                   Those reports cover a lot more and cover -- and
08:55:00 10     even in the e-mail they sent me, it seems to go to that he
08:55:04 11     still wants to talk about damage along the Gulf Coast, as
08:55:07 12     opposed to that one relevant, narrow opinion.
08:55:11 13              THE COURT:    I do want you to point out for me where the
08:55:14 14     part is that complies with my order.       So maybe I should give
08:55:18 15     this back to you and let you mark it, and then you can give
08:55:22 16     them back to me.
08:55:23 17              MR. RYDBERG:    All right.
08:55:23 18              MR. HOWARD:    Then the issue as to which counties,
08:55:27 19     Mr. Schnoor did say that the Signal staff does come from
08:55:30 20     multiple counties all around.
08:55:32 21                    What Mr. Gotham focused on was not all the
08:55:36 22     surrounding counties of Jackson.       He picked the two, including
08:55:39 23     one that was 50 miles away, precisely because they suffered the
08:55:43 24     most damage during the hurricane.       That's not the relevant
08:55:46 25     geography for the purpose we're looking at.

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08:55:49   1             THE COURT:    I have no testimony that I've heard so far
08:55:52   2    that this is where the workers ordinarily would live, you know,
08:55:56   3    in the counties that were picked, as opposed to ones
08:56:02   4    immediately adjacent or north of there.
08:56:05   5                   So I'm expecting to hear testimony from Signal
08:56:11   6    witnesses about what they did to investigate the housing in the
08:56:20   7    area where workers would be expected to live.        I think that's
08:56:24   8    going to be, you know, the most important testimony, as opposed
08:56:30   9    to an expert talking about the Gulf Coast.
08:56:35 10              MR. HOWARD:    Your Honor -- and I'll make a proffer
08:56:37 11     right now for the record that Mr. Marler will testify to this,
08:56:41 12     Mr. Schnoor already testified to this -- Signal did absolutely
08:56:44 13     no investigation of its own at the time they chose to build the
08:56:48 14     man camp to see whether, in fact, their assumption that there
08:56:51 15     was no available housing was true.
08:56:53 16                    So now that's why Signal is trying to rely on an
08:56:57 17     expert after the fact to come in and say, oh, well, they were
08:56:59 18     right.   There was a lot of damage there.       But he hasn't focused
08:57:02 19     on -- the relevant question was, was there enough availability
08:57:07 20     of apartments in Jackson or the immediate area, including to
08:57:10 21     the north in George County or to the east in Mobile County, to
08:57:17 22     satisfy the workers.     The contract workers were living
08:57:20 23     somewhere, the alternative.
08:57:22 24                    The testimony will be and the record will be that
08:57:24 25     Signal did absolutely no such investigation.        So, therefore,

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08:57:28   1    picking a county two counties away, precisely, as Dr. Gotham
08:57:34   2    admitted, because it sustained the most damage, is unreliable
08:57:38   3    and prejudicial and should not come in.
08:57:41   4             THE COURT:    I understand your argument.
08:57:44   5             MS. HANGARTNER:      May I just have a word, Your Honor?
08:57:46   6             THE COURT:    Yes.
08:57:47   7             MS. HANGARTNER:      I believe that what Mr. Howard is
08:57:49   8    saying is a little untrue, in that what both Mr. Schnoor and
08:57:56   9    Mr. Marlow testified to was it didn't take an expert to realize
08:57:58 10     that there was no housing in and around Pascagoula, which
08:58:01 11     includes Harrison and Hancock County.       That's Biloxi, Gulfport.
08:58:08 12                    It didn't take an expert.      They knew that their
08:58:10 13     people were having a very difficult time finding housing.            You
08:58:13 14     could simply drive from your home to work, and there was no
08:58:17 15     housing.
08:58:17 16              THE COURT:    Well, I think you're making a point that
08:58:20 17     your witnesses will testify about what they knew about it.
08:58:23 18              MS. HANGARTNER:      Correct.   Correct.
08:58:24 19                    I just didn't want the Court to be under the
08:58:27 20     impression that this is a last minute save for Signal.             This
08:58:29 21     was just a real world problem.
08:58:31 22              THE COURT:    Well, you're going to give me the parts of
08:58:34 23     the report that you think support the expert testimony, and
08:58:36 24     then I'll decide that.
08:58:41 25              MR. RYDBERG:    Thank you, Your Honor.

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08:58:42   1             MR. HOWARD:    Thank you, Your Honor.
08:58:43   2             THE COURT:    The objections to exhibits, I'm going to
08:58:49   3    defer ruling on those because of the large number of exhibits
08:58:52   4    and the large number of objections.
08:58:55   5                   There are some of them that you already know,
08:59:01   6    based on other rulings, what my ruling would be, I think, so
08:59:07   7    I'm hoping that will aid you.
08:59:09   8                   But what I would like for you to do is the day
08:59:13   9    before testimony is given during which you want to use an
08:59:22 10     exhibit that's been objected to, let me know the number of the
08:59:26 11     exhibit so that I can look at it.
08:59:27 12                    So, for example -- if there are any today, maybe
08:59:32 13     you could let me know at the first break -- but starting for
08:59:35 14     tomorrow, we're going to talk at the end of each day about who
08:59:40 15     is coming up the following day, and I want to know are there
08:59:44 16     any exhibits that have been objected to, so that I can look at
08:59:47 17     the objection and do my own research and be ready to rule.
08:59:51 18                    So does everybody understand that?       You've got an
08:59:55 19     obligation to tell me a day ahead when an objected-to exhibit
08:59:59 20     is going to be used.
09:00:01 21              MS. HANGARTNER:    Yes, Your Honor.
09:00:03 22              MR. WERNER:    Yes, Your Honor.
09:00:05 23              THE COURT:    So let's talk about the testimony.
09:00:11 24                    Mr. Ungar, did you have --
09:00:13 25              MR. UNGAR:    Actually, I do very briefly, Your Honor, on

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09:00:15   1    an exhibit.
09:00:17   2                   The pretrial notice allows parties to submit to
09:00:22   3    Your Honor a motion under seal to use some impeachment evidence
09:00:26   4    and to not include that on the bench book.        I have such a
09:00:30   5    motion.
09:00:32   6              THE COURT:   Well, now, that was supposed to be done
09:00:33   7    before trial, though.
09:00:34   8              MR. UNGAR:   Okay.   That wasn't something that I knew
09:00:36   9    because there wasn't a deadline in the pretrial notice.
09:00:40 10               THE COURT:   Well, I think it's because it's supposed to
09:00:43 11     be listed with the other exhibits, unless you've filed that
09:00:46 12     motion, but tell me what your issue is.        Do you have some now?
09:00:50 13               MR. UNGAR:   I do, Your Honor.    It's developing trial
09:00:52 14     strategy.   We have a request to use two pieces of impeachment
09:00:56 15     with an upcoming plaintiff, not somebody today.
09:00:59 16                    I have the document on paper with me.        And I
09:01:03 17     didn't know, one, if I could submit it to the Court, and then
09:01:05 18     two, the form in which that could be submitted.
09:01:08 19               THE COURT:   Ordinarily, it's a motion under that
09:01:11 20     section of the pretrial notice that's -- the motion is a motion
09:01:15 21     to file it under seal, so that the other side -- and then what
09:01:20 22     we file under seal is your motion saying, I want to use these
09:01:24 23     two exhibits as impeachment and not produce them, and here is
09:01:29 24     why I think that they are purely impeachment, and I shouldn't
09:01:33 25     be required to produce them to the other side right now.

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09:01:36   1             MR. UNGAR:    Then, in that instance, I wouldn't give to
09:01:40   2    the other side the sealed motion, I would just give it to you.
09:01:43   3             THE COURT:    Right.
09:01:43   4             MR. UNGAR:    So that's something we can file with the
09:01:45   5    Court today?
09:01:46   6             THE COURT:    Right, but you need to do it today, if it's
09:01:49   7    something that's coming up soon.
09:01:50   8             MR. UNGAR:    Yes, Your Honor.
09:01:50   9             MR. SHAPIRO:    Your Honor, I just want to lodge an
09:01:52 10     objection as to the untimeliness of filing of the motion.
09:01:56 11              THE COURT:    I think in the pretrial notice I direct you
09:01:59 12     to the case that discusses what you have to show for it to be
09:02:04 13     purely impeachment, so I'll assume you'll address that.
09:02:09 14              MR. UNGAR:    Yes, Your Honor, a Fifth Circuit case.
09:02:11 15     Thank you.
09:02:11 16              THE COURT:    So today we're having Mr. Vijayan testify
09:02:14 17     live, correct?
09:02:17 18              MR. HOWARD:    That's correct.
09:02:18 19              THE COURT:    Is he in the courtroom?
09:02:22 20              MR. HOWARD:    I think he's been sequestered, but if he
09:02:27 21     can come in.    We're just reading from a deposition.       Would it
09:02:29 22     be all right for him to be in while that deposition is read, or
09:02:31 23     do you want him out?
09:02:31 24              THE COURT:    Is he testifying live?
09:02:34 25              MR. HOWARD:    He is testifying live, but our first

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09:02:36   1    witness is by deposition.
09:02:38   2             THE COURT:    Who is that?
09:02:40   3             MR. HOWARD:    Mr. Buford, who was one of the security
09:02:43   4    guards on March 9th.     I believe you have the transcript pages
09:02:47   5    we will be reading from, and a brief statement to tell the jury
09:02:50   6    what has been agreed to by the parties.
09:02:52   7             THE COURT:    I was trying to remember whether I told
09:02:54   8    them that Friday or not.       Did I go over the deposition?
09:02:58   9             MR. HOWARD:    No, we haven't talked -- we need to give
09:03:02 10     them the instruction on what a deposition is, as well.
09:03:04 11              THE COURT:    I guess I had it here, but maybe I didn't
09:03:07 12     do it.   In any event, I'll do it again because it's been a long
09:03:11 13     weekend.
09:03:12 14                    So do the other parties object to --
09:03:14 15              MR. UNGAR:    We will object, Your Honor.
09:03:15 16                    The testimony to be read this morning is, in
09:03:17 17     part, about Mr. Vijayan and the circumstances surrounding him.
09:03:20 18     It would be prejudicial to allow him in the courtroom to hear
09:03:24 19     that story.
09:03:27 20              MR. CERNIGLIA:    I have something else totally,
09:03:28 21     Your Honor.
09:03:28 22              THE COURT:    Okay.    Let's wait.
09:03:30 23                    Is Mr. Vijayan a plaintiff in this case?
09:03:32 24              MR. HOWARD:    No, he's just a fact witness.
09:03:34 25              THE COURT:    Okay.    All right.    So then he's going to be

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09:03:36   1    sequestered during the reading of the deposition.
09:03:36   2             MR. UNGAR:    Thank you, Your Honor.
09:03:40   3             THE COURT:    Mr. Cerniglia.
09:03:43   4             MR. CERNIGLIA:    Yes, Your Honor.     It does not need to
09:03:44   5    be discussed at this time, but I just want to make you aware of
09:03:47   6    it, that I do have concerns about the time limitations in
09:03:51   7    Burnett's case.
09:03:54   8                   I think now -- the 540 is Burnett and Dewan's
09:04:03   9    limit.   With five plaintiffs and two expert witnesses against
09:04:07 10     me, and Signal has at least four witnesses that I would need to
09:04:11 11     cross-examine, two or maybe even three filed affidavits in the
09:04:16 12     summary judgment, and if you'll just add up average times, like
09:04:23 13     20 minutes a witness, which is not much, for Signal, and
09:04:28 14     50 minutes per plaintiff and experts, that puts me at over --
09:04:32 15     with what I have already, over 500.       If I only have 540, I
09:04:38 16     don't have time to put on any witnesses.
09:04:40 17              THE COURT:    What I will do is see how the time goes and
09:04:44 18     see if all the parties take as much time as, for example, the
09:04:49 19     plaintiffs and Signal, and we'll consider your request.
09:04:55 20              MR. CERNIGLIA:    My only point is, is that I'm every
09:04:57 21     much a target by not only the plaintiffs, but also by Signal.
09:05:02 22     It's kind of hard not to ask questions to defend yourself.
09:05:06 23     That's the only point I'm making.
09:05:07 24              THE COURT:    I understand.    Of course, it's going to go
09:05:10 25     faster --

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09:05:10   1             MR. CERNIGLIA:    I hope.
09:05:11   2             THE COURT:    -- I believe, as we move along.
09:05:13   3             MR. SHAPIRO:    Your Honor, on behalf of Dewan
09:05:13   4    defendants --
09:05:16   5             THE COURT REPORTER:     Use the microphone, please.
09:05:17   6             THE COURT:    You all have got to speak up, everybody.        I
09:05:20   7    do not want to spend my day telling people to speak up.
09:05:25   8             MR. SHAPIRO:    I'm terribly sorry, Your Honor.
09:05:27   9                    I will join in what -- Mr. Cerniglia's request on
09:05:34 10     Mr. Burnett's request, I will join that on behalf of Dewan.
09:05:38 11              THE COURT:    If you all don't speak up, I'm going to
09:05:40 12     start imposing a fine.     I have got to think of something to do,
09:05:44 13     that every time I tell you, you have to speak up, you have to
09:05:47 14     donate money to somebody.
09:05:48 15                     You all are professionals.     You can discipline
09:05:52 16     yourself enough to speak up so everybody can hear you.
09:05:56 17                     So I heard you, though, that time.      The court
09:06:00 18     reporter is going to help me, if she has any trouble hearing
09:06:03 19     anybody, but I don't want her to have to spend her time doing
09:06:07 20     that.   It's disruptive to the jury.
09:06:09 21                     I think we're ready to get started now.       So the
09:06:13 22     first thing we'll do is I'll tell the jury about the
09:06:18 23     deposition.
09:06:22 24                     You all are in agreement about who is reading and
09:06:24 25     who is reading what?     What's the situation?

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09:06:26   1             MS. HANGARTNER:    Your Honor, actually, if I could just
09:06:28   2    have a moment to go speak with the translator outside and relay
09:06:32   3    the message to him.
09:06:34   4             THE COURT:     Well, now, he's not going to be on the
09:06:35   5    stand right now, is he, because we're doing a deposition?
09:06:37   6             MS. HANGARTNER:    Correct.    I apologize.
09:06:38   7             THE COURT:     So you'll have a chance at a break.
09:06:40   8             MS. HANGARTNER:    Sorry, Your Honor.
09:06:42   9             THE COURT:     All right.   Let's see if I can find my
09:06:46 10     instructions.
09:07:06 11                     Who is reading, and how is that going to work?
09:07:10 12              MR. HOWARD:    I will be reading, Your Honor.
09:07:11 13              THE COURT:     You're going to do the whole thing?
09:07:13 14              MR. HOWARD:    The whole thing.
09:07:13 15                     This one is an easy one because it's all us,
09:07:17 16     unless --
09:07:17 17                     Are you guys going to get up and read your
09:07:19 18     examination at the end?     That would be fine because it's broken
09:07:22 19     up that way.
09:07:22 20              MS. HANGARTNER:    Yes.
09:07:24 21              MR. HOWARD:    So you will read the stuff in red.         Okay.
09:07:25 22              THE COURT:     Who is going to read for Mr. Buford?
09:07:35 23              MR. HOWARD:    Carl Palmer.
09:07:43 24              THE COURT:     Mr. Palmer, you're going to take the stand.
09:08:18 25                     Okay.   So now let's bring the jury in.

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09:08:49   1                   I'm going to tell the jury that this is
09:08:53   2    Carl Palmer, not Mr. Buford, just so they are not confused.
09:08:56   3             MS. HANGARTNER:    For the record, Your Honor, I'd rather
09:08:59   4    not be Mr. Cornblatt, but --
09:09:01   5             THE COURT:    Well, you're not going to be participating,
09:09:02   6    are you?
09:09:03   7             MS. HANGARTNER:    I'm going to read what our -- what Jim
09:09:06   8    Cornblatt, for Signal, did.
09:09:09   9             MR. HOWARD:    Your Honor, it is totally divided, where
09:09:11 10     it's all of our designations and then a little bit of theirs.
09:09:15 11              THE COURT:    All right.   We don't have to identify
09:09:18 12     Mr. Cornblatt.    You just get up for Signal.       Or you can say it.
09:09:21 13     I guess you do have to -- does he start by saying, I'm
09:09:26 14     Mr. Cornblatt?
09:09:28 15              MS. HANGARTNER:    I believe he did, Your Honor.
09:09:31 16              THE COURT:    You can say, I'm reading for Mr. Cornblatt.
09:09:34 17              MS. HANGARTNER:    Got it.    Thank you.
09:10:28 18              THE COURT:    Juror Number 10 had a shot in her knee.
09:10:30 19     We're going to switch her with a different juror, so she can be
09:10:34 20     on the end and can prop her foot.       So if you see people in a
09:10:38 21     different place, that's why.
09:11:15 22              (WHEREUPON, at 9:11 a.m., the jury panel enters the
09:11:43 23     courtroom.)
09:11:43 24              THE COURT:    Be seated.
09:11:45 25                    Good morning, Ladies and Gentlemen of the Jury.

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09:11:46   1    I hope you had a nice weekend.      We're glad to see you back.
09:11:58   2                   During this trial, some testimony will be
09:12:00   3    presented to you through deposition.       A deposition is the sworn
09:12:05   4    recorded answers to questions a witness was asked in advance of
09:12:10   5    the trial.
09:12:11   6                   If a witness cannot be present to testify from
09:12:14   7    the witness stand, that witness' testimony may be presented
09:12:17   8    under oath in the form of a deposition.
09:12:21   9                   Sometime before trial, attorneys representing the
09:12:24 10     parties in this case questioned witnesses under oath.          A court
09:12:29 11     reporter was present and recorded the testimony.         The questions
09:12:33 12     and answers will be read to you.
09:12:36 13                    Deposition testimony is entitled to the same
09:12:40 14     consideration and to be weighed and otherwise considered by you
09:12:46 15     in the same way as if the witness had been present today and
09:12:49 16     testified from the witness stand in court.
09:12:51 17                    This morning testimony will be presented to you
09:12:55 18     through the deposition of Mr. Breland Buford.        Mr. Buford was a
09:13:02 19     security guard employed by Swetman Security and was onsite at
09:13:07 20     Signal on March 9, 2007.
09:13:11 21                    Mr. Carl Palmer is reading the testimony given by
09:13:15 22     Mr. Buford for us today in court.
09:13:15 23              (WHEREUPON, at this point in the proceedings, the
09:13:25 24     deposition of Breland Buford was read.)
09:13:25 25     DIRECT EXAMINATION BY MR. HOWARD:

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09:13:27   1    Q.    Good morning, Mr. Buford.
09:13:28   2               Starting on page 12.
09:13:31   3               And did you work for Swetman before JC Penney, or was
09:13:34   4    there another job in between?
09:13:35   5    A.    There was -- I think there was a couple of jobs, actually.
09:13:38   6    Swetman was a couple of years ago.
09:13:40   7    Q.    Yeah.
09:13:40   8    A.    Let's see.    JC Penney's.   Then I worked for Island View
09:13:45   9    Casino as surveillance.     I was there for about a year.          What
09:13:49 10     did I do before that?     I think right before that is when I
09:13:52 11     worked for Swetman.     So about that time.
09:13:53 12     Q.    Okay.   Does this refresh your memory as to when you
09:14:01 13     started at Swetman?
09:14:03 14     A.    I know it was probably about a month or two before that.
09:14:06 15     Q.    Okay.
09:14:07 16     A.    I wasn't [verbatim] that long when they asked us to come.
09:14:11 17     They actually -- I want to say it was Ms. Pat or Ms. Lisa, I
09:14:17 18     think she was security out there at Signal International, they
09:14:20 19     asked me, Trent, and Van to come the next day to help them out
09:14:23 20     with moving a few people.      I guess -- we was all big guys, so I
09:14:26 21     guess they -- they needed some big guys.
09:14:28 22     Q.    And before you came to work for Swetman, had you had any
09:14:33 23     experience working security in any way?
09:14:34 24     A.    Yes, sir.    I actually worked at the Hard Rock Hotel &
09:14:37 25     Casino.   I also worked at -- there was a place up there called

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09:14:41   1    Rise.    I was a bouncer up there.
09:14:43   2    Q.      And what were your job duties at the Hard Rock?
09:14:47   3    A.      Let's see.   Sunday, Monday, I was regular casino security.
09:14:50   4    I would assist guests, help with money drops.        And then on
09:14:55   5    Thursday, Friday, Saturday, I was up at the club Rise.             Pretty
09:14:58   6    much I'd work the door or I'd work inside and make sure
09:15:01   7    everybody was drinking responsibly.       Any fights broke out, of
09:15:07   8    course I'd break them up.
09:15:07   9    Q.      Now, Mr. Buford, do you recall whether there was any fence
09:15:12 10     around the man camp?
09:15:13 11     A.      Yes, there was.
09:15:14 12     Q.      On which sides of the man camp?
09:15:16 13     A.      It was on all four sides.    There was pretty much a shack.
09:15:20 14     There was a little white dot on -- just to the left of the
09:15:22 15     bottom.    Looks like the bigger white rectangle, I guess.
09:15:29 16     There's a small security shack just to the left of it.             There
09:15:31 17     was a fence probably right there next to that shack that went
09:15:34 18     all the way up, and that circled the parking lot.         But then
09:15:37 19     there was also a fence around the man camp.        Literally the
09:15:43 20     outline, just to the outside of it, there was a fence.
09:15:44 21     Q.      And what type of fence was that?
09:15:46 22     A.      It was a chain-link fence.
09:15:47 23     Q.      Do you remember if there was barbwire?
09:15:50 24     A.      Yes, there was.
09:15:52 25     Q.      On which parts of it?

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09:15:53   1    A.      Just to the outside of the man camp.       All the squares
09:15:55   2    right there, there was a fence that literally went around the
09:15:59   3    entire -- all that little section.       And it did have barbwire on
09:16:09   4    that.
09:16:09   5    Q.      Did there come a time that you learned that -- scratch
09:16:12   6    that.
09:16:16   7                Did there come a time when you were asked to help
09:16:19   8    find some of the Indian workers?
09:16:19   9              MR. PALMER:   I'm sorry, what page?
09:16:22 10               MR. HOWARD:   We're on page 61.
09:16:22 11               SPEAKER:   You missed 50.
09:16:24 12               MR. HOWARD:   Oh, did I miss 50?
09:16:24 13               MR. PALMER:   Yeah.
09:16:25 14               MR. HOWARD:   I apologize.    Page 50.
09:16:27 15               MR. PALMER:   Page 50.    I got it.
09:16:28 16     EXAMINATION BY MR. HOWARD:
09:16:28 17     Q.      Did anybody ever talk to you about cultural differences
09:16:31 18     with the Indian workers?
09:16:33 19     A.      They did tell me to wash my hands if I ever shook their
09:16:38 20     hand.    I guess because they didn't use toilet paper or
09:16:41 21     something.
09:16:41 22     Q.      Who told you that?
09:16:42 23     A.      That was -- it was a guy that worked at Signal.       Darrell,
09:16:45 24     I want to say, Tanner.       I think that was his name.
09:16:48 25     Q.      Darrell Tanner or Darrel Snyder?

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09:16:52   1    A.      Synder, that's it.
09:16:53   2    Q.      So Darrel Snyder told you to wash your hands if you shook
09:16:57   3    their hand because they didn't use toilet paper?
09:17:00   4    A.      Yes, sir.
09:17:00   5    Q.      Did there come a time that you learned that -- scratch
09:17:07   6    that.
09:17:07   7                Did there come a time when you were asked to help
09:17:09   8    find some of the Indian workers?
09:17:13   9    A.      Yes, sir.
09:17:13 10     Q.      When was that?
09:17:13 11     A.      The day prior to the 9th.    March 8th, 2007.
09:17:18 12     Q.      And how did you learn that you would be involved with
09:17:20 13     that?
09:17:21 14     A.      There was a woman that worked in the main office of
09:17:23 15     Signal.    I want to say her name was Ms. Killeen.       Very
09:17:26 16     beautiful.    She was really nice.     She asked if me and Trent
09:17:29 17     would come out tomorrow morning around -- be there at 8 o'clock
09:17:32 18     in the morning.     And we -- I mentioned, "Well, we got another
09:17:35 19     guy that works with us that's a big guy."
09:17:37 20                 And she said, "Yeah, bring him too."       So -- and I
09:17:41 21     think that's how that started.
09:17:42 22     Q.      Why did you think she would be interested in having
09:17:45 23     another big guy?
09:17:46 24     A.      She made the comment that, "We need some muscle out
09:17:56 25     there."

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09:17:56   1    Q.    And she said that to you?
09:17:58   2    A.    Yes, sir.   So at first, that's how we started all that.
09:18:01   3    Trent's a -- kind of a buff guy, and of course I'm a big guy,
09:18:04   4    so it's kind of -- I figured she wouldn't have gone and asked
09:18:06   5    anybody else for nothing else, so...
09:18:07   6    Q.    If you don't mind my asking, how tall are you?
09:18:10   7    A.    Six-one.
09:18:11   8    Q.    And do you mind if I ask how much you weigh?
09:18:13   9    A.    375.
09:18:14 10     Q.    Is that how much you weighed back in March of 2007?
09:18:18 11     A.    Oh, no.    I was -- I think I was around 313, 315.
09:18:22 12     Q.    So you were six-one and 315 pounds?
09:18:28 13     A.    Yes, sir.
09:18:28 14     Q.    And how about Mr. Antee?
09:18:31 15     A.    Van?    Oh, he's small.    I call him a dwarf.    Let's see, he
09:18:35 16     was about five-eight, five-nine.       He couldn't have been more
09:18:38 17     than 260, 270, at the most.
09:18:40 18     Q.    But five-nine and 270?
09:18:44 19     A.    Oh, yeah.   He's very short.
09:18:46 20     Q.    So a large guy, but short?
09:18:48 21     A.    Yeah.    Yes, sir.
09:18:48 22     Q.    And then Mr. Turner was the third gentleman; is that
09:18:51 23     right?
09:18:51 24     A.    Yes, sir.   He's skinny, but he's always been pretty buff.
09:18:56 25     Q.    How tall is he?

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09:18:56   1    A.    He's about six foot.
09:18:58   2    Q.    Was he a -- how -- do you know how he was a tough, how
09:19:00   3    he -- was he in good shape?
09:19:01   4    A.    He worked out a lot.     Tattoos all over him.     You know, he
09:19:04   5    kind of looks like one of those renegades off of a motorcycle,
09:19:08   6    I guess, so...
09:19:08   7    Q.    So he was -- would you describe him as a kind of
09:19:11   8    intimidating-looking person?
09:19:13   9    A.    If I didn't know him, yes.
09:19:14 10     Q.    And when did you get up the next morning?
09:19:22 11     A.    I know it was pretty early.      As I wrote in here -- I was
09:19:25 12     actually breezing over my report.       It said I had to be there at
09:19:30 13     5:00 a.m., so I guess 8:00 a.m. was wrong.        So we probably got
09:19:34 14     up pretty early, probably around 3:30, because it took us about
09:19:37 15     a good 40-minute drive to get to work because we lived in
09:19:40 16     Ocean Springs off of Washington Avenue, which was Exit 50.
09:19:44 17     Q.    Okay.   So looking at Exhibit 3 refreshes your memory as to
09:19:47 18     when you were told to report to work on March 9th?
09:19:52 19     A.    Yes, sir, at 5:00 a.m.     Yes, sir.
09:19:55 20              MR. HOWARD:    I think Exhibit 3 to the deposition is
09:19:58 21     Exhibit 1433, which we'll show to the jury.
09:20:07 22     EXAMINATION BY MR. HOWARD:
09:20:07 23     Q.    So what did Mr. Darrell tell you?
09:20:09 24     A.    Pretty much he said there's four Indians that are about to
09:20:13 25     get fired.    They're not going to take it very well.       Pretty

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09:20:16   1    much we're going to bring them all into the community room and
09:20:19   2    we're going to explain to them, and then we're going to have a
09:20:22   3    van out front waiting on them to take them to the place to send
09:20:25   4    them back.
09:20:25   5    Q.     Did he tell you anything else?
09:20:28   6    A.     Other than they don't take it really well because of this
09:20:31   7    is how they provide for their families back home.         Other than
09:20:35   8    that, he didn't really specify.      He just said we're going to
09:20:37   9    bring them back to the community room, so...
09:20:40 10     Q.     It says, "I was briefed that eight Indians were going to
09:20:48 11     be terminated and we were to find them and notify them."           You
09:20:52 12     said earlier it was four.
09:20:52 13     A.     Yes, sir.   I guess it was because -- four because I
09:20:55 14     remember three being in the room, and then the one -- that guy
09:20:59 15     slit his wrist.    I think that's why I came up with four.         But
09:21:04 16     eight -- this is probably a lot more accurate than my mind
09:21:08 17     right now.
09:21:09 18     Q.     So Mr. Darrell found the first person y'all were looking
09:21:13 19     for.   What happened next?
09:21:14 20     A.     He asked me to escort him to Cabin 15.      And so of course
09:21:20 21     we're walking -- we were pretty much walking side by side.          I
09:21:23 22     don't have my hands on him.      Literally we're just walking down
09:21:26 23     the walk.
09:21:27 24                 We make it to Cabin 15.     You know, we sit -- and he
09:21:31 25     just sits there in front of the TV.       The TV was off.    There was

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09:21:34   1    a couch in that room.     He just sat there.     And I sat by the --
09:21:39   2    I actually stood by the door.
09:21:40   3    Q.      Why did you stand by the door?
09:21:43   4    A.      Really it was instinct.   To be escorted to a room, it kind
09:21:48   5    of made me seem like, okay, he had to be in here.         So -- nobody
09:21:52   6    told me to.      It's just an instinct of mine.
09:21:54   7    Q.      Was it your understanding that he was to be kept in that
09:21:58   8    room?
09:21:58   9    A.      They didn't tell me to physically hold him in that room,
09:22:01 10     but I did have the sense -- like I said, it was an instinct.        I
09:22:04 11     guess it was because they told me he was going to get
09:22:08 12     terminated.      So I guess he hadn't found out yet, or I think he
09:22:11 13     would have -- probably he found out a little bit worse than
09:22:14 14     that, because he seemed calm, cool, collected.         You know,
09:22:17 15     just -- he sat there and he really just didn't say anything.
09:22:19 16     Q.      Did you think about what you would do if he tried to get
09:22:22 17     up and leave?
09:22:23 18     A.      I would probably stand in front of him and say, you know,
09:22:26 19     "Just hang on," or something like that.        I don't think I would
09:22:28 20     have put my hands on him.
09:22:29 21     Q.      But you would have told him he's not supposed to leave?
09:22:32 22     A.      Yes, sir.
09:22:33 23     Q.      And you said you heard the word "arm"?
09:22:44 24     A.      Armed.
09:22:46 25     Q.      Armed?

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09:22:46   1    A.      Yes, sir.   It's like -- I guess I just picked out that
09:22:49   2    word or something like that.      It just hit me wrong or
09:22:52   3    something.      I don't own a gun, I don't carry a gun, so...
09:22:55   4    Q.      What did you think when you heard the word "armed"?
09:22:59   5    A.      I think they're going to call in some police or something.
09:23:01   6    That's what I thought, or something.       About 45 minutes later, I
09:23:04   7    guess -- no, it couldn't have been that long.        Probably about
09:23:09   8    30 minutes later, that's when a tall woman showed up.          I've
09:23:13   9    never seen her before in my life.       But she had a Swetman shirt
09:23:16 10     on and she did have a gun on her hip.
09:23:17 11     Q.      So your understanding is that her showing up with the gun
09:23:25 12     was a show of force?
09:23:27 13     A.      Yes, sir.   Absolutely.
09:23:28 14     Q.      And do you know why there was a show of force?
09:23:34 15     A.      No, sir.
09:23:34 16     Q.      Okay.   And at some point did any of the Indian workers who
09:23:42 17     were outside Cabin 15 go around to the back door?
09:23:45 18     A.      Yes, sir.   I know at least two times they tried to pull on
09:23:48 19     the back door.      Trent walked to the back door to assist Van,
09:23:52 20     but Van pretty much held it closed, so...
09:23:55 21     Q.      Was it your impression that the three gentlemen who were
09:23:58 22     in Cabin 15 were free to leave?
09:24:00 23     A.      I didn't have that impression.    It just seemed like once
09:24:03 24     everybody was in that cabin, it just felt like we're staying
09:24:06 25     here.    It just had that sense to it.

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09:24:07   1    Q.    What gave it that sense?
09:24:10   2    A.    Well, pretty much there was a guard at each door.            They
09:24:13   3    were telling us to keep it closed.       Of course there was the
09:24:16   4    sense that Darrell just -- you know, he was trying to talk to
09:24:19   5    the Indians and residents.      I was -- I wasn't really paying
09:24:25   6    attention, but I could hear him trying to talk to them and
09:24:27   7    everything.   He was asking them to sit down.       I know he was
09:24:31   8    asking them to do that.
09:24:31   9                One of them got up to walk around.      I think it was
09:24:34 10     the one I escorted in, the one I identified.        He was walking
09:24:38 11     around the cabin.    Mr. Darrell, I know was asked --
09:24:43 12     Mr. Darrell, I know was asking him to sit down.         He came to the
09:24:46 13     window, opened up the blinds twice, I know.
09:24:50 14     Q.    When Darrell was asking him to sit down, what kind of --
09:24:53 15     what was the tone of his voice?
09:24:54 16     A.    At first it started off as just a, "Hey, would you mind
09:24:58 17     just sitting down?"     And then I think it did get to a point
09:25:01 18     where, "You need to sit down."
09:25:02 19     Q.    So he was ordering him to sit down?
09:25:05 20     A.    Yes, sir.
09:25:05 21     Q.    Based on what you observed inside the bunkhouse, if I told
09:25:16 22     you that the Indian workers were paying $1,050 a month to live
09:25:22 23     there, would that seem reasonable to you?
09:25:23 24     A.    No.
09:25:23 25     Q.    Why not?

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09:25:25   1    A.    Because, I mean, it's just way too small.        They weren't
09:25:29   2    able to go out and do anything, really.         A thousand and fifty
09:25:34   3    bucks?    That's what you said?
09:25:35   4    Q.    That's what I said.
09:25:35   5    A.    Wow.
09:25:36   6    Q.    You seem really surprised by that.
09:25:40   7    A.    I am, actually.
09:25:41   8    Q.    Why are you surprised?
09:25:43   9    A.    I mean, all they really had was a bunk, you know.            Wow,
09:25:49 10     $1,000.   We were just comfortable in space in our apartment.
09:25:54 11     Way too small.    $1,000.      Wow.
09:26:01 12               MS. HANGARTNER:      Your Honor, I briefly object and ask
09:26:04 13     to approach.
09:26:05 14               THE COURT:    Yes.
09:26:05 15               (WHEREUPON, at this point in the proceedings, there was
09:26:18 16     a conference held at the bench.)
09:26:18 17               MS. HANGARTNER:      I don't mean to be a pain, but the
09:26:22 18     witness is supposed to be reading with no emotion, and there's
09:26:25 19     an awful lot of emotion right here.
09:26:27 20               THE COURT:    Can you hear?
09:26:28 21               THE REPORTER:    Yes.   I can hear her.
09:26:31 22               THE COURT:    Did you all discuss with the witness --
09:26:34 23               MR. HOWARD:   I handed him the transcript this morning.
09:26:38 24     I had never met the man before this morning.
09:26:40 25               THE COURT:    Who picked him?

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09:26:41   1             MR. HOWARD:    I think the SPLC just found someone who
09:26:44   2    would agree to be paid.       But that emotion was in the original
09:26:47   3    transcript.   You can tell by the words.
09:26:50   4             THE COURT:    Well, I don't want to do anything right in
09:26:54   5    the middle of this.     Is there anything else like this as far as
09:26:59   6    what you are reading today, any wows?
09:27:00   7             MR. HOWARD:    No.    But, I mean, he does admit to being
09:27:04   8    told to lie about his testimony.
09:27:05   9             THE COURT:    I don't expect him to do it monotone.       In
09:27:09 10     fact, I also don't expect a dramatic reading.        Let's not
09:27:13 11     interrupt him in the middle of his testimony and overemphasize
09:27:17 12     it, but just to make sure with future witnesses, that we talk
09:27:20 13     to them even more than maybe you did with this witness.
09:27:25 14              MR. HOWARD:    Yeah, literally.    I just met him this
09:27:28 15     morning.
09:27:28 16              THE COURT:    But somebody --
09:27:30 17              MR. HOWARD:    I think they just hired him.      He had never
09:27:32 18     seen this transcript before.
09:27:34 19              THE COURT:    All right.
09:27:36 20              MR. SANDLER:    He's very gifted then.
09:27:38 21              THE COURT:    I want to say for the record, I'm
09:27:41 22     hearing -- I think what he did was fine.        I don't think he's
09:27:43 23     overdoing it.    But we just want to be sensitive to that.
09:27:47 24              MR. HOWARD:    Very good.    Thank you.
09:27:49 25              MS. HANGARTNER:      Thank you.

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09:27:49   1              (WHEREUPON, at this point in the proceedings, the bench
09:28:07   2    conference concluded.)
09:28:07   3              MR. HOWARD:   Mr. Palmer, now page 137.
09:28:07   4    EXAMINATION BY MR. HOWARD:
09:28:10   5    Q.    And did somebody approach you and ask you to write this
09:28:13   6    statement?
09:28:13   7    A.    Yes, sir.
09:28:14   8    Q.    Who did?
09:28:15   9    A.    Who asked me?     Mr. Greg showed up.    He handed me and Trent
09:28:19 10     this piece of paper and said we need to write it out.          And so
09:28:22 11     we did.   Then he told me to shave my face.
09:28:26 12     Q.    Did anybody -- did you write this all out in one draft, or
09:28:29 13     did it take several drafts?
09:28:30 14     A.    One draft.    I actually sat in the shack.      And when I --
09:28:34 15     Mr. Greg picked it up.     Like I said, I sat out in the shack,
09:28:38 16     and nobody was there with me when I was writing it.
09:28:40 17     Q.    Did anybody tell you or suggest to you anything that you
09:28:44 18     should include in your statement?
09:28:46 19     A.    Yes, sir.
09:28:46 20     Q.    Who did?
09:28:49 21     A.    Ms. Lisa said to make sure we put "not detained."
09:28:52 22     Q.    When did Ms. Lisa tell you that?
09:28:55 23     A.    That day.    The 10th of March.
09:28:58 24     Q.    Okay.   So Mr. Greg showed up and asked you to write this
09:29:01 25     statement.    When did you talk to Ms. Lisa?

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09:29:05   1    A.    She was standing there when Mr. Greg handed us the forms.
09:29:08   2    Q.    And what specifically did Ms. Lisa tell you?
09:29:11   3    A.    Make sure we put that they were not detained.
09:29:14   4    Q.    Did she tell you to put -- anything else?
09:29:16   5    A.    I want to say something about nobody had guns or something
09:29:19   6    like that.    But I'm not 100 percent on that.      It's some -- but
09:29:25   7    I know that they said do not -- put they were not detained.
09:29:29   8    Q.    I'm sorry, do...
09:29:30   9    A.    To please put "not detained."
09:29:34 10     Q.    Okay.
09:29:36 11     A.    That's the best way.     And that's why I kind of wrote in
09:29:41 12     parentheses "not detained" towards the end of it.         Let's see,
09:29:43 13     about the 23rd line, all the way at the end, I put in
09:29:48 14     parentheses "not detained."
09:29:49 15     Q.    What did you think when she told you to write that they
09:29:52 16     were not detained?
09:29:53 17     A.    I was already not happy with Ms. Lisa, so it was kind of
09:29:57 18     one of those that I just did it just to avoid drama.
09:30:01 19     Q.    And why were you not happy with Ms. Lisa?
09:30:04 20     A.    She -- I felt like she should have told us what we were
09:30:08 21     getting into, you know.     And I feel like we should have -- you
09:30:12 22     know, there just should have been a little bit more support for
09:30:15 23     that, you know, for such little, you know -- it was just a
09:30:19 24     resistance coming up, and, you know, really she only had three
09:30:22 25     Swetman security and an armed person that just stood back

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09:30:25   1    there.   And, you know, I was just kind of upset with that.        I
09:30:28   2    would have -- I felt -- I would have felt better if she told us
09:30:32   3    what was going to happen exactly:       "They might be upset, they
09:30:37   4    might not.   They could do something that you might not like."
09:30:39   5    Q.     Do you think the statement "they were not detained" is
09:30:44   6    correct?
09:30:44   7    A.     I think they were detained.     I really do.    And I really
09:30:48   8    think that's why I didn't sign at the bottom of the page,
09:30:53   9    thinking back.
09:30:53 10     Q.     And that's because you thought you were being told to
09:30:56 11     write something that you didn't think was true?
09:30:58 12     A.     Yes, sir.   I'm actually reading over this, too, and I
09:31:02 13     don't see anything about the armed security.        But I know she
09:31:04 14     was there.
09:31:04 15     Q.     And if you had written everything that you wanted to
09:31:08 16     write, that's something you would have included in this
09:31:10 17     statement?
09:31:10 18     A.     Oh, absolutely.
09:31:11 19     Q.     You also say about three lines past the "not detained"
09:31:19 20     parenthetical, you say, "the three Indians, who were given
09:31:23 21     bathroom breaks and water and coffee."       Is that correct?
09:31:26 22     A.     They were given water.    I don't remember them leaving for
09:31:28 23     bathroom breaks.    And I'm actually reading that next sentence,
09:31:31 24     too.
09:31:31 25     Q.     Which sentence is that?

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09:31:34   1    A.    "They were free to leave."
09:31:35   2    Q.    What do you think about that?
09:31:37   3    A.    That's not something I would put in the sentence.            But
09:31:40   4    apparently I wrote it.     That's my handwriting.      But I really
09:31:43   5    feel like that's why I didn't sign it at the bottom, because I
09:31:47   6    didn't agree with this statement that I had to write.
09:31:48   7    Q.    Why did you feel like you had to write it?
09:31:52   8    A.    Well, at the time, I mean, it was my only job.         You know,
09:31:55   9    I didn't want to lose it.      It was paying for the apartment that
09:31:58 10     we were staying in.     And it was kind of just so much pressure.
09:32:01 11     Really, you know, they -- whenever, you know, you would do
09:32:04 12     something with that company, Swetman, they were just kind of
09:32:07 13     harsh on you a little bit.      So just -- so I just really didn't
09:32:10 14     want to do the drama, really.      And I felt like something would
09:32:13 15     happen, and I -- that's why I really didn't sign it at the
09:32:17 16     bottom.
09:32:17 17     Q.    What were you worried would happen?
09:32:22 18     A.    I would think something like this would happen.         You know,
09:32:23 19     a whole lawsuit or something like that going on.
09:32:25 20     Q.    Was Ms. Lisa a Swetman employee or a Signal employee?
09:32:32 21     A.    I heard she worked at Swetman before, but then transferred
09:32:36 22     over to Signal.
09:32:37 23     Q.    Okay.   And on March 9th, do you remember whether she was
09:32:40 24     Swetman or Signal?
09:32:40 25     A.    Oh, she was all Signal.     When I -- when I started working

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09:32:43   1    there, she was all Signal.
09:32:44   2    Q.      And to make sure I understand correctly, the reason why
09:32:47   3    the guard with the firearm is not described in your statement
09:32:50   4    is -- your recollection is that Ms. Lisa specifically told you
09:32:53   5    not to say that?
09:32:54   6    A.      Yes, sir.
09:32:54   7    Q.      And the reason why you wrote "not detained" is because
09:32:59   8    Ms. Lisa specifically told you to write that?
09:33:01   9    A.      Yes, sir.
09:33:01 10     Q.      And the reason why you wrote "they were free to leave" is
09:33:04 11     because Ms. Lisa told you to write that?
09:33:07 12     A.      Yes, sir.
09:33:16 13               MR. HOWARD:     Thank you.
09:33:40 14     CROSS-EXAMINATION BY MS. HANGARTNER:
09:33:43 15     Q.      Good afternoon, sir.    My name is James Cornblatt.
09:33:46 16                    Now, when you were talking about the March 9th
09:33:48 17     incident --
09:33:49 18     A.      Yes, sir.
09:33:50 19     Q.      -- you said that Lisa had spoken with someone from
09:33:54 20     Swetman?       Ms. Lisa spoke to someone from Swetman, made a phone
09:33:58 21     call?
09:33:58 22     A.      While we was in the trailer, Cabin 15?
09:34:03 23     Q.      Yes.
09:34:04 24     A.      I don't know who she called while we was in Cabin 15, but
09:34:07 25     she was calling someone.       I did hear a few key words.     Like I

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09:34:11   1    said, "armed" was definitely a word.       I don't know who she was
09:34:15   2    calling.
09:34:16   3    Q.    Did you hear her say, "Send someone armed"?
09:34:20   4    A.    I didn't hear the "send someone."       I just heard the word
09:34:25   5    "armed."    I was mainly just over there by the front door while
09:34:28   6    she was over there by the back door on the phone.
09:34:31   7    Q.    So you don't know whether she said, "Send someone who
09:34:34   8    isn't armed"?
09:34:35   9    A.    I don't know if she said that.
09:34:37 10     Q.    Okay.   So you don't know one way or the other whether she
09:34:43 11     was requesting someone who was armed or was just using the word
09:34:46 12     "armed"?
09:34:47 13     A.    Yes, sir.
09:34:47 14     Q.    Okay.   Why don't you spend some time now and read the
09:34:53 15     entire statement and list for me, please, all of the
09:34:55 16     misstatements in that thing.
09:34:59 17     A.    Sure.   Would you like me to read it out loud or...
09:35:02 18     Q.    No.    To yourself is fine.
09:35:04 19     A.    Okay.
09:35:05 20     Q.    The only thing I want out loud actually is what's wrong.
09:35:11 21     A.    Let's see, Van was actually inside the trailer with me.
09:35:15 22     He didn't enter after everything.
09:35:18 23                 Next, when I -- on the 23rd line, I believe it was,
09:35:22 24     when it says "sitting with three Indians," I parenthesized "not
09:35:28 25     detained."    Let's see.   That was -- in my mind, I was told to

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09:35:31   1    write that.   I don't remember if they had bathroom breaks.        I'm
09:35:35   2    not 100 percent accurate on that.       I know they had water.
09:35:38   3    Q.    Do you remember that they didn't have bathroom breaks?
09:35:41   4    A.    I don't -- I don't remember if they had them or did not
09:35:44   5    have them.
09:35:44   6    Q.    Okay.
09:35:45   7    A.    I know they were given water.      Let's see.    And, "They were
09:35:50   8    free to leave," that was a told statement that I had to write
09:35:54   9    in here.
09:35:55 10     Q.    Was it not true?
09:35:56 11     A.    Honestly, nobody told them that they could or could not
09:35:59 12     leave.   But nobody told them that they were free to leave.
09:36:02 13     Q.    Okay.   Did anyone tell you today that you were free to
09:36:05 14     leave here?
09:36:07 15     A.    No, sir.
09:36:07 16     Q.    But you are free to leave here, aren't you?
09:36:12 17     A.    Yes, sir.
09:36:12 18     Q.    Okay.   So you don't generally open a sentence with,
09:36:16 19     "You're free to leave."
09:36:16 20     A.    Okay.
09:36:18 21     Q.    Okay.   So the idea that no one told them that they were
09:36:22 22     free to leave doesn't mean that they were not free to leave.
09:36:25 23     A.    I understand.
09:36:26 24     Q.    Okay.   Did anyone tell them that they couldn't leave?
09:36:31 25     A.    Other than Mr. Darrell telling them to sit there, no, sir.

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09:36:35   1    Q.     Did you ever tell them that they couldn't leave?
09:36:39   2    A.     No, sir.
09:36:39   3    Q.     Did you ever stop anyone from leaving?
09:36:43   4    A.     No, sir.
09:36:43   5    Q.     Did anyone ever try to leave?
09:36:45   6    A.     No, sir.
09:36:45   7    Q.     Did anyone ask to leave?
09:36:46   8    A.     No, sir.
09:36:47   9    Q.     So you don't really know whether they were free to leave.
09:36:52 10     You're just assuming that, correct?
09:36:54 11     A.     What I wrote in the statement is what I was told.
09:36:56 12     Q.     Okay.   And prior to today, when did you last speak with
09:37:01 13     anyone representing the plaintiffs?
09:37:03 14     A.     I think I did have a woman that came to my house and took
09:37:06 15     an affidavit from me.     I think that was either a year or two
09:37:10 16     ago.   But I was -- I can't remember her name, but she -- she
09:37:13 17     took down my statement.     And other than that, that was it.
09:37:16 18     Q.     Okay.   And do you know where that statement is, sir?
09:37:19 19     A.     No, sir.
09:37:19 20     Q.     Is that statement different from what you wrote here?
09:37:22 21     A.     Yes, sir.
09:37:22 22     Q.     Okay.   Did you mention to anyone at Swetman that you were
09:37:26 23     writing a false statement here?
09:37:28 24     A.     This statement?
09:37:29 25     Q.     Yeah.

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09:37:32   1    A.    I informed Trent and Van.
09:37:34   2    Q.    Okay.   Did you -- who was your supervisor at your next --
09:37:38   3    your supervisor, excuse me?
09:37:40   4    A.    Ms. Pat.
09:37:43   5    Q.    Did you tell Ms. Pat that, "I'm writing a false
09:37:48   6    statement"?
09:37:49   7    A.    No, sir.
09:37:49   8    Q.    What was her supervisor [verbatim]?
09:37:51   9    A.    Mr. Greg.
09:37:51 10     Q.    Did you tell Mr. Greg that you were writing a false
09:37:54 11     statement?
09:37:54 12     A.    No, sir.
09:37:55 13     Q.    And yet you wrote this, and it was not correct?
09:37:57 14     A.    Yes, sir.   I was told to.
09:37:58 15     Q.    You were told to.    Okay.   And who told you to?
09:38:02 16     A.    Ms. Lisa.
09:38:02 17     Q.    Were you employed by Signal?
09:38:04 18     A.    No, sir.
09:38:04 19     Q.    So Ms. Lisa was not your boss?
09:38:07 20     A.    No, sir.
09:38:07 21     Q.    She just told you to write it, and you thought you would
09:38:10 22     go ahead and write it that way?
09:38:13 23     A.    Yes, sir.
09:38:13 24     Q.    My first question is, does this document refresh your
09:38:22 25     elect- -- you had trouble saying the same thing -- refresh your

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09:38:25   1    recollection -- there we go -- of when you worked at Swetman?
09:38:27   2    A.      Well, it had to be -- I had to have quit before
09:38:31   3    April 18th, so...
09:38:32   4    Q.      So why don't you take a look at the top of the second
09:38:35   5    page.
09:38:35   6    A.      Yeah.    So about April 12th.
09:38:38   7    Q.      So does that refresh your recollection -- wow -- as to
09:38:41   8    when you started at Swetman?
09:38:43   9    A.      March.
09:38:43 10     Q.      Okay.
09:38:44 11     A.      Yes, sir.
09:38:44 12     Q.      So it wasn't at the beginning of the year?
09:38:47 13     A.      No, not at the very beginning.
09:38:49 14     Q.      Okay.
09:38:49 15     A.      But close to it.
09:38:50 16     Q.      Okay.    And you were with Swetman for a month and a half?
09:38:53 17     A.      Yes, sir.
09:38:54 18     Q.      Okay.    Now, does this refresh your recollection as to
09:38:58 19     whether you applied to Signal?
09:39:00 20     A.      Yes, sir.
09:39:01 21     Q.      And did you, in fact, apply to Signal for a job?
09:39:04 22     A.      Yes, sir.
09:39:04 23     Q.      And this was after -- you applied to Signal even after you
09:39:09 24     were -- I don't know if you used -- you were bothered by the
09:39:12 25     way that they were treated -- that they were treating the man

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09:39:16   1    camp workers?     You had testified that you were bothered by the
09:39:20   2    way that they were treating the man camp workers, did you not?
09:39:25   3    A.    Yes, sir.
09:39:25   4    Q.    And you applied to Signal afterwards and referenced the
09:39:29   5    fact that you knew about the man camp?
09:39:31   6    A.    Yes, sir.
09:39:31   7    Q.    Rand you didn't see a problem applying to the company that
09:39:34   8    bothered you that much?
09:39:35   9    A.    No, sir.
09:39:35 10     Q.    Did your leaving Swetman have anything to do with Signal?
09:39:43 11     A.    No, sir.
09:39:43 12     Q.    Okay.   Now, other than the five or ten minutes that I
09:39:48 13     believe you described --
09:39:50 14              MR. PALMER:    I've got more.
09:39:51 15              MS. HANGARTNER:    I'm sorry.
09:39:52 16              THE WITNESS:    But -- no, sir.    But -- no, sir, nothing
09:39:54 17     to do with Signal.     It was just my boss getting into it, and
09:39:57 18     then, you know, irritating me here and there, nitpicking a
09:40:01 19     little bit more.
09:40:01 20     EXAMINATION BY MS. HANGARTNER:
09:40:01 21     Q.    Okay.   Now, other than the five or ten minutes that I
09:40:04 22     believed you described you were with your escortee --
09:40:04 23     A.    Uh-huh (affirmative response).
09:40:08 24     Q.    -- in the bunkhouse, had you ever been inside a bunkhouse
09:40:13 25     at the man camp?

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09:40:13   1    A.    Not before that, no, sir.
09:40:14   2    Q.    Have you been in it since?
09:40:16   3    A.    No, sir.
09:40:16   4    Q.    So that was the only time you were ever in a bunkhouse
09:40:19   5    in -- at the man camp?
09:40:20   6    A.    At the man camp, yes, sir.
09:40:21   7    Q.    And you said that you were there for about five or ten
09:40:25   8    minutes?
09:40:25   9    A.    Yes, sir.
09:40:25 10     Q.    While you -- while you were there, were you keeping an eye
09:40:29 11     on the escortee?
09:40:31 12     A.    Yes, sir.
09:40:31 13     Q.    Did you walk around the entire bunkhouse?
09:40:34 14     A.    No, sir.
09:40:34 15     Q.    So you really don't know what was inside, you just saw a
09:40:39 16     certain part?
09:40:39 17     A.    His bunk was -- once you go in, we take a right, then we
09:40:43 18     come back down, his bunk was right there on the left after that
09:40:46 19     second row.
09:40:46 20     Q.    Okay.   And you said that it was -- that there were triple
09:40:51 21     bunks?
09:40:51 22     A.    Yes, sir.
09:40:55 23              MS. HANGARTNER:    That's the end of the testimony,
09:40:56 24     Your Honor.
09:40:57 25              THE COURT:    Thank you.

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09:40:57   1              (WHEREUPON, at this point in the proceedings, the
09:40:57   2     reading of the deposition of Breland Buford concluded.)
09:41:03   3                    All right.    The plaintiffs can call its next
09:41:05   4     witness.
09:41:07   5              MR. HOWARD:    Yes, the plaintiffs will be calling
09:41:09   6     Mr. Vijayan, who is outside the courtroom.        And my colleague
09:41:20   7     Chandra Bhatnagar will be doing the examination.
09:42:10   8              MS. HANGARTNER:     Your Honor, just for the record, I
09:42:10   9     explained to the translator that he will be using the -- what
09:42:11 10      was normally the witness mike this time, and then the witness
09:42:11 11      will use the handheld.
09:42:14 12               THE COURT:    He will use the lapel.
           13             MS. HANGARTNER:     Lapel, I'm sorry.
           14             THE COURT:    So is the witness in the courtroom?
           15    Mr. Chandra, is the witness in the courtroom?
           16             MR. BHATNAGAR:     Your Honor, he was sequestered and I
           17    think they are bringing him up here right now.         We were waiting
           18    for the previous testimony to be completed.        Thank you,
           19    Your Honor.
           20             THE COURT:    Mr. Howard, while we're waiting for the
           21    witness, why don't you introduce the two additional people who
09:43:08 22      are at counsel table with you.
09:43:08 23               MR. HOWARD:    Absolutely.    It would be my honor,
09:43:10 24      Your Honor.
09:43:12 25                     Two additional plaintiffs in this case,

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09:43:14   1     Mr. Palanyandi Thangamani and Mr. Andrews Padavettiyil.
09:43:32   2              THE COURT:    Thank you.
09:43:34   3                    Mr. Bhabha, you continue to be under oath.
           4              MR. BHABHA:    Yes, ma'am.    Thank you, Judge.
           5              THE DEPUTY CLERK:     Please raise your right hand.       Do
           6     you solemnly swear that the testimony you are about to give
           7     will be the truth, the whole truth and nothing but the truth,
           8     so help you God?
           9              THE WITNESS:    Yes, I do.
           10                               SABULAL VIJAYAN
           11     was called as a witness and, after being first duly sworn by
09:46:39 12       the Clerk, was examined and testified on his oath as follows:
09:46:39 13               THE COURT:    You can have a seat.
09:46:49 14      DIRECT EXAMINATION BY MR. BHATNAGAR:
09:46:54 15      Q.    Good morning, sir.
09:46:57 16      A.    Good morning.
09:46:57 17      Q.    Please state your name for the record.
09:47:04 18      A.    Sabulal Vijayan.
09:47:05 19      Q.    Is it okay if I call you Mr. Sabulal?
09:47:10 20      A.    You could call me.
09:47:11 21      Q.    Is this your first time testifying in court, Mr. Sabulal?
09:47:14 22      A.    Yes.
09:47:19 23      Q.    Mr. Sabulal, you are not a plaintiff in this trial,
09:47:19 24      correct?
09:47:29 25      A.    Yes.

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09:47:29   1    Q.    But you were recruited from India to come to work at
09:47:39   2    Signal International; is that right?
09:47:40   3    A.    Yes.
09:47:43   4    Q.    And you lived in Signal's man camp; is that correct?
09:47:50   5    A.    Yes.
09:47:50   6    Q.    During what period of time did you work at Signal?
09:48:19   7    A.    From December 6th to March -- from December 6, 2007 -- no,
09:48:29   8    I want to correct that.     It's from December 6, 2006, to
09:48:33   9    March 9, 2007.
09:48:34 10     Q.    Mr. Sabulal, before we get to the facts about your
09:48:39 11     experience at Signal, I would like to begin by having you tell
09:48:43 12     the jury a little bit about yourself.
09:48:59 13                  How old are you?
09:49:02 14     A.    39.    Now 47.
09:49:06 15     Q.    But you were 39 at the time that you came to Signal?
09:49:09 16     A.    Yes.
09:49:14 17     Q.    And where were you born?
09:49:20 18     A.    In India.
09:49:22 19     Q.    In what region of India?
09:49:24 20     A.    My state's name is Kerala.
09:49:30 21     Q.    Are you married?
09:49:31 22     A.    Yes.
09:49:34 23     Q.    Do you have any children?
09:49:38 24     A.    Yes, I do have two.
09:49:40 25     Q.    What are their ages?

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09:49:49   1    A.      The oldest is 15 year old, and the youngest is 13 year
09:49:52   2    old.
09:49:52   3    Q.      Can you describe for the jury your educational background.
09:50:07   4    A.      I had completed my high school graduation, and then I had
09:50:14   5    graduated a technical school too.
09:50:26   6                Other than that, I had done certificate courses and
09:50:29   7    passed in pipefitting and quality control.        I have done a
09:50:37   8    computer drafting certificate course, and I passed that too.
09:50:42   9    Q.      Before we get started, I'm just going to ask you,
09:50:46 10     Mr. Sabulal --
09:50:47 11               MR. BHATNAGAR:   Also, you, Mr. Bhabha.
09:50:47 12     EXAMINATION BY MR. BHATNAGAR:
09:50:49 13     Q.      -- to just keep your voices at a higher level, so that
09:50:50 14     everybody can hear you.     Thank you.
09:50:51 15     A.      Definitely.
09:51:06 16     Q.      So, Mr. Sabulal, let's now turn to your experience at
09:51:11 17     Signal.
09:51:11 18                 When you landed in the United States, where did you
09:51:14 19     land?
09:51:34 20     A.      I landed in New York airport.    Then, from there, I came to
09:51:43 21     Mobile.
09:51:43 22     Q.      Now, as you were on your way to New York, did you know
09:51:46 23     where you were headed as your ultimate destination?
09:52:02 24     A.      I knew that I am going to Mississippi, but I don't know
09:52:10 25     much about the airports and things like that.

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09:52:11   1    Q.    And when did you learn that you were going to Signal's
09:52:14   2    Mississippi facility?
09:52:32   3    A.    The Indian recruiter at the agency's office, from there I
09:52:38   4    came to know that.
09:52:38   5    Q.    So you learned that you were going to Mississippi in
09:52:43   6    Mr. Sachin Dewan's office; is that right?
09:52:44   7    A.    Yes.
09:52:46   8    Q.    Did you learn it -- did you learn that fact on the day
09:52:50   9    that you were leaving India?
09:53:00 10              MR. UNGAR:    Objection.   Leading.
09:53:01 11              THE WITNESS:    Yes.
09:53:02 12              THE COURT:    Sustained.   You can rephrase it.
09:53:05 13     EXAMINATION BY MR. BHATNAGAR:
09:53:06 14     Q.    When did you learn that fact?
09:53:15 15     A.    The day that I was flying out over here, that day morning
09:53:19 16     I came to know that.
09:53:20 17     Q.    Did you also learn at that meeting in Mr. Dewan's office
09:53:25 18     that Signal had a facility in Mississippi and in Texas?
09:53:39 19     A.    Yes, I came to know that.
09:53:40 20     Q.    Were you given a choice as to whether you preferred to go
09:53:44 21     to Mississippi or to Texas?
09:53:51 22     A.    No.
09:53:51 23     Q.    You were not given a choice?
09:53:59 24     A.    Nothing in that offer.
09:54:00 25     Q.    When you first arrived at the Mississippi man camp, what

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09:54:04   1    were your first impressions?
09:54:32   2    A.    I came here late at night.      At that time, we had traveled
09:54:38   3    so far, and we're really tired.      So at that time, the most
09:54:42   4    important thing for me was to find a bed and go to sleep
09:54:47   5    somewhere.
09:54:47   6    Q.    How long had you been traveling for from India?
09:54:58   7    A.    Approximately over 18 hours I had to travel.
09:55:01   8    Q.    So what about the next morning when you had an opportunity
09:55:04   9    to look around in the daylight, what were your impressions of
09:55:08 10     Signal's man camp then?
09:55:33 11     A.    The next morning when I looked around, I came to
09:55:37 12     understand the living conditions were bad there.         It was not as
09:55:41 13     what they have promised, that it was not good, that I
09:55:47 14     understood.
09:55:48 15     Q.    Were you given a choice of which trailer you were to live
09:55:52 16     in?
09:55:52 17     A.    No, they did not give me that.
09:56:02 18     Q.    How full of Indian workers was your trailer when you
09:56:06 19     arrived in December of 2006?
09:56:28 20     A.    When I arrived there in my room, there were, including me,
09:56:33 21     about 18 people already in that, and it's designed to hold 24
09:56:38 22     people.
09:56:38 23     Q.    Were there 24 people at some point during your time at
09:56:44 24     Signal living in your trailer?
09:57:00 25     A.    Yes.    All beds there were fully occupied.

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09:57:02   1    Q.    Now, when you arrived at Signal, were there some trailers
09:57:06   2    that were mostly empty?
09:57:20   3    A.    There were many that were all vacant because people are
09:57:25   4    still coming in.
09:57:25   5    Q.    Could you choose to live in one of the emptier trailers?
09:57:43   6    A.    I cannot because my dearest friends, they were also in
09:57:49   7    other trailers, but I could not go live with them.         We could
09:57:53   8    not move like that.
09:57:54   9    Q.    What did your trailer look like?
09:57:56 10     A.    When they are saying about the trailer, the trailer is
09:58:12 11     filled with beds.    They are like double bunk beds.
09:58:17 12                In total, there were 24 beds.       Then there were about
09:58:31 13     three or three and a half feet gap between these two beds for
09:58:39 14     people to walk across.
09:58:46 15                Inside that, there were two bathrooms and two
09:58:52 16     showers.   In there, the only gap that was there as far as to
09:59:07 17     walk in between.    Other than that, the interior place was -- in
09:59:13 18     that room was all filled with bed.
09:59:24 19                If we are to sit on our bed, we will not be able to
09:59:28 20     sit straight because our head would hit on the top bed.            So it
09:59:33 21     was congested like that.
09:59:34 22     Q.    Did you have a bedside table?
09:59:41 23     A.    There was just the bed, and then beside the bed there was
09:59:55 24     a cupboard.   Other than that, there was nothing else.         There
10:00:02 25     was no table or anything like that.

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10:00:04   1    Q.      Did you have an alarm clock?
10:00:07   2    A.      I had it.
10:00:07   3    Q.      Where did you keep your alarm clock?
10:00:17   4    A.      I kept it on my bed.    What were -- the things that we had,
10:00:22   5    we could only keep it on our bed.       We could not do anything
10:00:25   6    else.
10:00:25   7    Q.      Okay.    Let's pull up Exhibit 808, please.
10:00:34   8                   Mr. Sabulal, does this picture accurately depict what
10:00:37   9    you saw inside the trailer in which you were assigned by
10:00:40 10     Signal?
10:00:55 11     A.      It's reflecting exactly what it was.     This was the trailer
10:00:58 12     where I was living in.       It shows exactly what we were living
10:01:02 13     in.
10:01:02 14     Q.      This picture, this is the very trailer that you lived in?
10:01:09 15     A.      Yes, definitely.
10:01:10 16     Q.      Can you -- drawing on the screen in front of you and
10:01:14 17     Mr. Bhabha, can you show where you slept in this trailer?
10:01:18 18     A.      Yes.    My bed was just adjacent to that, opposite to that
10:01:41 19     bed by -- over that side.
10:01:42 20     Q.      So your bed was a bottom bunk?
10:01:51 21     A.      Yes, it was the bottom bed.
10:01:53 22     Q.      Your bed was the bottom bunk directly to the right of the
10:01:57 23     bunk that's in this picture?
10:02:10 24     A.      Yes, I just inside to that bed, on the bottom one.
10:02:20 25     Q.      Going back to Exhibit 808, the lockers here, did you have

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10:02:29   1    a locker like the ones that are pictured in this image?
10:02:41   2    A.    Yes, I had.
10:02:41   3    Q.    How wide was your locker?      Was it one hand across, was it
10:02:47   4    two hands across, was it three hands across?        How wide was it?
10:03:04   5    A.    It had a width of like two hands.
10:03:07   6    Q.    So two hands across, that's the width?
10:03:13   7    A.    Yes.
10:03:13   8    Q.    Approximately how deep was your locker?
10:03:23   9    A.    About 18 inches deep.
10:03:25 10     Q.    Were there any shelves in your locker?
10:03:33 11     A.    Yes, I had.
10:03:34 12     Q.    Now, that locker, was that the only place that you were
10:03:38 13     given to keep your things?
10:03:47 14     A.    Yes, only that one.
10:03:48 15     Q.    But couldn't you also keep things under the bed?
10:03:53 16     A.    Yes.   The rest of the things, I had to keep it underneath
10:04:03 17     the bed.
10:04:03 18     Q.    Now, you mentioned earlier that you couldn't sit up in
10:04:08 19     your bed.    What do you mean by that?
10:04:25 20     A.    Well, if you have to sit on the bed, I could only sit
10:04:29 21     putting my head down and then sit.       If I am sitting up straight
10:04:33 22     with my head up, then I would hit the top bed.
10:04:37 23     Q.    Mr. Sabulal, how tall are you?
10:04:44 24     A.    Five feet eight inches.
10:04:45 25     Q.    Five feet eight inches?

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10:04:49   1    A.      Yes.
10:04:50   2    Q.      You're saying that when you sat up in your bed, you
10:04:53   3    couldn't raise your head because it would hit the bed above
10:04:56   4    your bed?
10:05:06   5    A.      Yes.
10:05:06   6    Q.      Did you ask Signal to raise the beds?
10:05:14   7    A.      Yes, I asked.
10:05:15   8    Q.      Did Signal ultimately raise the beds?
10:05:18   9    A.      Yes.    They fixed everything.   They raised it up.
10:05:28 10     Q.      Can you describe for the jury what it was like for you
10:05:32 11     living in a trailer with 23 other men.
10:05:50 12     A.      It was very difficult to do like that.     While in the beds,
10:06:01 13     we only had a little space for us to walk through.         All of our
10:06:10 14     things, we had to either keep it below the bed or on top of our
10:06:14 15     beds.
10:06:21 16                    If we have to change our clothes in our rooms, we
10:06:24 17     have to change our clothes staying on the walkway in between
10:06:29 18     the beds.
10:06:34 19                    One time it so happened that while I was changing my
10:06:38 20     clothes, one person walked by and pushed me down, and I fell
10:06:42 21     down on my bed.
10:06:50 22                    Just like that, where I was sleeping, opposite to me
10:06:54 23     there was a toilet, and when people are walking in and out of
10:07:04 24     that, I would always -- I will be hearing them closing and
10:07:09 25     opening the door.       In the same room, there was a shower, too.

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10:07:26   1                While I was sleeping at night, some people would be
10:07:29   2    calling on the phone, or some people would be snoring, so I
10:07:32   3    could not have a good, proper night's sleep.
10:07:40   4                If you had to walk or -- walk across, then if someone
10:07:45   5    is standing in the walkway, then only after they move you could
10:07:49   6    walk across.
10:07:50   7                In the morning time when everybody has to go to work,
10:08:03   8    people would be queuing up in front of my bed to go to the
10:08:09   9    bathroom.
10:08:09 10     Q.    I'm sorry, you said queuing up?
10:08:14 11     A.    That they will be lining up.
10:08:15 12     Q.    Lining up.   Okay.   Thank you.
10:08:17 13                 How did this trailer compare to the home in which you
10:08:20 14     lived in India?
10:08:22 15     A.    While I was living in India, when I am going back to my
10:08:46 16     home after a workday, I would be at peace, that I would be able
10:08:56 17     to rest there, that -- the thing I had in my mind over there,
10:09:01 18     but here I did not have that feeling.
10:09:07 19                 I had a room where I could rest at my home, and at my
10:09:20 20     home, I would not have any other difficulties or problems.           I
10:09:25 21     would be able to rest at peace.
10:09:34 22                 Even at night when I'm sleeping, if I need to drink
10:09:36 23     water, there would be a refrigerator, I could get water and
10:09:40 24     drink.   I had that.    Here, I'll have to get out and go.         I have
10:09:52 25     to look for it and search for it to do that.

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10:10:08   1                With 24 people that I'm sharing the room with, I
10:10:12   2    don't know how the other people will be reacting to or what all
10:10:15   3    the other people will be doing.      So without any uncertainty, I
10:10:21   4    would be coming in and going into this room.
10:10:22   5    Q.      Wasn't there a refrigerator in the Signal labor camp that
10:10:29   6    you could use?
10:10:36   7    A.      Other than our bed in our room, there was no other things.
10:10:40   8    Q.      Wasn't there a place that you could relax?      Wasn't there a
10:10:43   9    TV room?
10:10:44 10     A.      There were two TV halls there.
10:10:54 11     Q.      Couldn't you relax there?
10:11:16 12     A.      When we come back after our work, there would be only time
10:11:21 13     to go to the bathroom, use the toilet, and to line up for the
10:11:28 14     food.    We did not have enough time when we are done with all of
10:11:35 15     these things.
10:11:35 16     Q.      What about phone service?    Didn't Signal provide you with
10:11:43 17     a phone to be able to talk to your family?
10:12:00 18     A.      There were about 280 of us living in that camp.       There
10:12:04 19     were two TV rooms, and each TV room had one phone line each
10:12:08 20     initially for all of us.
10:12:09 21     Q.      Didn't Signal bring in more phones?
10:12:24 22     A.      Because we had to line up for many -- too long of a time
10:12:34 23     to talk on the phone, then later on they brought in six or
10:12:38 24     eight phones and then put them over there.
10:12:41 25     Q.      So when they added the new phones, did that eliminate the

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10:12:46   1    problem?
10:12:46   2    A.    We have to still line up, but it just reduced the length
10:13:11   3    of the line.
10:13:12   4                 We had come during December, January, cold time
10:13:17   5    period, so we had to be really standing out in the cold and
10:13:22   6    shiver in the line.
10:13:25   7    Q.    Now, if you didn't like the way things were in the Signal
10:13:31   8    labor camp and you didn't want to live there, why didn't you
10:13:34   9    just go back to India?
10:13:55 10     A.    We cannot return back like that.       The reason being that we
10:13:59 11     had put all of our life savings into this to come here.
10:14:06 12     Q.    Now, Mr. Sabulal, I'm going to show you what's already
10:14:13 13     been marked as Exhibit 1190 and 1191.       Do you recognize these
10:14:31 14     depictions?
10:14:36 15     A.    Yes, I'm recognizing it.
10:14:39 16     Q.    Could you describe what is Exhibit 1190 on the left, for
10:14:44 17     the record?
10:14:56 18     A.    That is the man camp where we were living.
10:15:01 19     Q.    Can you describe Exhibit 1191?
10:15:04 20     A.    That is a picture of Signal, a bird's eye view of it.
10:15:22 21     Q.    A bird's eye view of the entire Signal facility?
10:15:26 22     A.    Yes.
10:15:29 23     Q.    Could you circle on Exhibit 1191 the part of Signal's
10:15:34 24     facility that was the Indian labor camp.
10:15:51 25     A.    (Witness complies.)

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10:15:52   1    Q.    Okay.    Great.
10:15:53   2               Can we take down 1191, and just keep up 1190.
10:16:01   3               So looking at Exhibit 1190, which buildings were in
10:16:07   4    use at Signal during the time that you lived there?         Please
10:16:23   5    circle them.
10:16:28   6    A.    What are the buildings that I have been using or everyone
10:16:33   7    was using?
10:16:33   8    Q.    No, that were in use in general at the time that you lived
10:16:36   9    at Signal.
10:16:37 10     A.    (Indicating.)
10:16:50 11     Q.    So let the record reflect that you've circled all the
10:16:53 12     buildings to the left of the black -- two black structures to
10:16:56 13     the middle right of the picture.
10:16:59 14                The buildings to the right of your circle,
10:17:06 15     Mr. Sabulal, those buildings were not in use while you were at
10:17:09 16     Signal?
10:17:24 17     A.    When I arrived there, it was not there.        By the time I was
10:17:28 18     about to leave, they have started building those.
10:17:31 19     Q.    So the additional trailers on the far right, construction
10:17:36 20     had begun on those when you left Signal; is that what you're
10:17:39 21     saying?
10:17:52 22     A.    Yes, they started it.
10:17:53 23     Q.    Okay.    Let's -- could you circle your trailer.
10:18:08 24     A.    (Witness complies.)
10:18:09 25     Q.    Could you circle the TV room -- or rooms.

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10:18:19   1    A.      (Witness complies.)
10:18:22   2    Q.      Could you circle the mess hall.
10:18:29   3    A.      (Witness complies.)
10:18:31   4    Q.      Okay.    Could you circle the prayer room?
10:18:36   5    A.      There was no room like that there.
10:18:44   6    Q.      So at the time you were at Signal, there was no prayer
10:18:47   7    room?
10:18:47   8    A.      No, there is no room like that there.
10:18:56   9    Q.      Now, in her opening, Signal's lawyer said that there were
10:19:02 10     70 showers in the man camp, in addition to the showers in the
10:19:06 11     trailers.       Was that a true statement during the time that you
10:19:09 12     lived in the labor camp?
10:19:27 13     A.      No, no, not right.
10:19:28 14               THE COURT:     Mr. Bhabha, wait a second.
10:19:29 15               MR. UNGAR:     Objection, Your Honor.    May we approach
10:19:31 16     briefly?
10:19:32 17               THE COURT:     Yes.
10:19:32 18               (WHEREUPON, at this point in the proceedings, a
10:20:03 19     conference was held at the bench.)
10:20:03 20               MR. UNGAR:     Signal objects to use of the term "labor
10:20:06 21     camp."    We did move the Court pretrial.       We think the
10:20:10 22     continuing use is prejudicial to Signal here.         Nobody called it
10:20:13 23     that.    This guy hasn't called it that, only counsel has called
10:20:16 24     it that.
10:20:17 25               THE COURT:     I think I already ruled on the motion in

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10:20:20   1    Motion in Limine, but, Mr. Bhatnagar, are you going to continue
10:20:23   2    to call it the labor camp?      I think it was a called a man camp.
10:20:26   3             MR. BHATNAGAR:    Your Honor, I don't have a strong
10:20:27   4    position either way.     I mean, it was, you know, briefed, and
10:20:29   5    Your Honor did rule, so we think it's appropriate --
10:20:31   6             THE COURT:    Why don't you just call it man camp.
10:20:34   7    That's what everybody calls it.
10:20:34   8             MR. BHATNAGAR:    Sure.
10:20:35   9             THE COURT:    I think that's what's confusing.
10:20:35 10              MR. BHATNAGAR:    Thank you, Your Honor.
10:20:38 11              THE COURT:    But, look, on other things that I've done
10:20:40 12     the Motion in Limines, I've already ruled, so I don't want -- I
10:20:44 13     told you I don't want a lot of bench conferences, so I don't
10:20:47 14     want objections based on things I've already ruled on.
10:20:50 15              MR. UNGAR:    Yes, Your Honor, I understand.
10:21:09 16     EXAMINATION BY MR. BHATNAGAR:
10:21:13 17     Q.    Mr. Sabulal, in order to work at Signal, on your first day
10:21:17 18     you signed some forms; is that right?
10:21:31 19     A.    Yes, I have signed.
10:21:32 20     Q.    You signed a housing deduction form, right?
10:21:40 21     A.    Yes, I've signed.
10:21:41 22     Q.    That form covered your room and board; is that right?
10:21:49 23     A.    Yes, they are covered.
10:21:52 24     Q.    You had to sign that form in order to work at Signal?
10:21:58 25              MR. UNGAR:    Objection.   Leading.

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10:21:59   1             THE WITNESS:    Yes.
10:22:00   2             THE COURT:    Sustained.   So if you would try to --
10:22:02   3             MR. BHATNAGAR:    Trying to build foundation, Your Honor,
10:22:04   4    but --
10:22:06   5             THE COURT:    I understand.
10:22:06   6    EXAMINATION BY MR. BHATNAGAR:
10:22:07   7    Q.    Did you have to sign that form in order to work at Signal?
10:22:11   8    A.    Yes, I had to sign.
10:22:12   9    Q.    Did that form have a deduction?
10:22:21 10     A.    Yes, it was written.
10:22:24 11     Q.    How much was that the deduction?
10:22:30 12     A.    $35 a day, and 1,050 a month.
10:22:35 13     Q.    So $35 a day would come out of your paycheck; is that
10:22:35 14     right?
10:22:46 15     A.    Yes.
10:22:46 16     Q.    And, Mr. Sabulal, were you paid for the hours that you
10:22:52 17     worked, or did you have a general salary?
10:23:05 18     A.    I was getting wages for the hours I worked.
10:23:08 19     Q.    So the number of hours that you worked would correspond to
10:23:10 20     the wages that you received?
10:23:19 21     A.    Yes, that's how it was.
10:23:21 22     Q.    So if you were sick on a given day and could not work, you
10:23:24 23     would not get paid for that day?
10:23:33 24     A.    No, I would not be getting any.
10:23:35 25     Q.    But the $35 would still be coming out of your paycheck for

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10:23:38   1    that day, correct?
10:23:48   2    A.    Yes, if I work or if I didn't work, if I am sick, they
10:23:56   3    would be deducting $35 per day.
10:23:59   4             MR. BHATNAGAR:    Mr. Bhabha, if you could just speak a
10:24:00   5    little bit louder, thank you.       Thank you.
10:24:00   6    EXAMINATION BY MR. BHATNAGAR:
10:24:03   7    Q.    The $35 a day would come out of your paycheck even on days
10:24:09   8    where you couldn't work because of adverse weather?
10:24:24   9             MR. UNGAR:    Objection.    Leading, Your Honor.
10:24:29 10              THE COURT:    Overruled.    I think they've already
10:24:33 11     testified about that.
10:24:41 12              THE WITNESS:    No matter what happens, there is no
10:24:43 13     concession in them taking the $35 a day.
10:24:47 14     EXAMINATION BY MR. BHATNAGAR:
10:24:47 15     Q.    So if you had a day where you could not work because there
10:24:50 16     was a storm, for example, you still would have that deduction,
10:24:50 17     right?
10:25:05 18     A.    Yes, I had to pay.
10:25:06 19     Q.    Now, in her opening, Signal's lawyer said that Signal
10:25:10 20     provided you with housing, three meals a day, a laundry
10:25:14 21     service, and a bus to take you wherever you wanted to go.          Is
10:25:17 22     that a true statement for the time that you were at Signal?
10:25:48 23     A.    That's not right.
10:25:49 24     Q.    Why is that not right?
10:25:50 25     A.    The travel arrangements or transportation was not there

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10:26:03   1    for them to take us wherever we want.       It was not there all the
10:26:14   2    time too.     It was only there two days a week to go to Walmart.
10:26:29   3                 Then regarding the food, too, if you don't eat on the
10:26:34   4    time that they are specifying, then you have to starve.
10:26:46   5                 As far as the laundry, there was no laundry service
10:26:49   6    as such.     We had to wash our own clothes.     There were some
10:26:55   7    laundry machines available there.
10:26:56   8    Q.    So would you have rather lived at the Signal man camp or
10:27:03   9    outside the camp?
10:27:19 10     A.    If we were given an opportunity, I would have went out and
10:27:23 11     lived outside.
10:27:24 12     Q.    Why?
10:27:30 13     A.    If we were outside, we would have freedom.        We did not
10:27:34 14     have to be living with a guard, the security inside the fence.
10:27:46 15     We did not -- we would not have to live with 24 other people.
10:27:52 16     We could have had our privacy.      We did not have to live with
10:28:00 17     all of these rules and regulations.
10:28:12 18                  Then we do not have to eat all these substandard food
10:28:18 19     or water or the substandard things that were provided.             We
10:28:21 20     didn't have to use that if we live outside.
10:28:27 21                  We did not have to forsake all of our freedom by
10:28:33 22     living there.
10:28:33 23     Q.    Would you have rather cooked your own meals?
10:28:48 24     A.    If we had to -- if we would have lived outside, then we
10:28:52 25     could have done that so we could have a good quality food.

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10:28:55   1    Q.      Now, another document that you signed -- did you sign any
10:29:00   2    other documents on your first day at Signal?
10:29:15   3    A.      Signed the housing agreement, and there were papers
10:29:19   4    related to work, I signed those.
10:29:22   5    Q.      So let me ask you about the housing agreement.       The
10:29:24   6    housing agreement, you were required to sign that to live at
10:29:28   7    Signal as well, right?
10:29:29   8    A.      Yes, I had to sign that.
10:29:38   9    Q.      Did the housing agreement have rules in it?
10:29:46 10     A.      Yes, it had.
10:29:46 11     Q.      Were you required to live by these rules in order to
10:29:49 12     remain at Signal?
10:29:51 13     A.      Yes, I had to follow them.
10:29:59 14     Q.      Do you remember these rules?
10:30:05 15     A.      Some of them I'm remembering.
10:30:07 16     Q.      Can you tell the jury some of the rules that you remember.
10:30:24 17     A.      That I have to pay per day for living in the camp.         That
10:30:29 18     they would not be letting any visitors inside there.         That I am
10:30:34 19     not supposed to use alcohol.
10:30:45 20                 If we are to break their rule, and if we consume
10:30:49 21     alcohol there, then they would be deducting $250 for the first
10:30:55 22     offense, and for the second occurrence they would take out
10:31:01 23     $500.
10:31:01 24     Q.      So if you were caught with alcohol in the camp, for your
10:31:06 25     very first offense $250 would be deducted from your paycheck;

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10:31:11   1    is that what you just said?
10:31:19   2    A.    Yes.
10:31:20   3    Q.    For your second offense, $500 would be deducted from your
10:31:24   4    paycheck?
10:31:25   5    A.    Yes.
10:31:32   6    Q.    Now, you also said no visitors.      What would happen if you
10:31:37   7    had a visitor?
10:31:49   8    A.    They would not let the visitors come inside the camp.
10:31:52   9    Q.    They would not let the visitors come inside the camp.        Did
10:31:56 10     you ever have a visitor come and see you at Signal?
10:31:58 11     A.    I had a visitor once.
10:32:10 12     Q.    Was it a friend from India?
10:32:18 13     A.    It was my friend from with India.       He had come to see me
10:32:22 14     there.
10:32:22 15     Q.    Did he live in India, or did he live in the United States?
10:32:33 16     A.    He was in America.     He was living in Louisiana.
10:32:37 17     Q.    So he came to visit you from Louisiana to the Signal
10:32:41 18     facility?
10:32:41 19     A.    Yes.   He was living in Morgan City, and he drove all the
10:32:53 20     way over there to see me.
10:32:55 21     Q.    How long was his drive?
10:33:03 22     A.    I believe it would be at least a three and a half hours
10:33:06 23     one way.
10:33:06 24     Q.    How long did he wait to see you once he got to Signal?
10:33:22 25     A.    Because he was not let inside, he could not see me

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10:33:28   1    immediately, and he had to wait in the parking lot for over one
10:33:31   2    and a half hours.
10:33:31   3    Q.    So he drives three hours plus, and then he waits another
10:33:36   4    hour and a half in the parking lot to see you; is that right?
10:33:47   5    A.    Yes.
10:33:47   6    Q.    So once you met up with your friend, did you ask security
10:33:51   7    if he could come in?
10:33:52   8    A.    Yes, I've asked.
10:34:01   9    Q.    What did they say?
10:34:07 10     A.    That they cannot allow that.
10:34:09 11     Q.    Now, you mentioned before that you were required to sign
10:34:13 12     the housing agreement in order to work at Signal, and that the
10:34:16 13     housing agreement had these fines for you, right?
10:34:45 14     A.    I don't remember exactly if the housing agreement had
10:34:49 15     these fines listed on it, but Signal had clearly put up a
10:34:54 16     notice there showing these rules.
10:34:58 17     Q.    Did you obey Signal's rules in order to avoid those
10:35:03 18     punishments?
10:35:04 19     A.    Yes, I followed everything.
10:35:17 20     Q.    So, Mr. Sabulal, did Signal pay the American workers
10:35:25 21     roughly the same amount as you received per hour?
10:35:27 22     A.    Yes.
10:35:33 23     Q.    So if Signal paid its American workers roughly the same as
10:35:38 24     you, how do you feel that Signal treated you or the other
10:35:42 25     Indian workers differently?

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10:36:11   1    A.     For American workers, after they are done with their work,
10:36:15   2    they could go back to their home; but, for us, the Indian
10:36:20   3    workers, after we are done with our work, we have to return
10:36:23   4    back to the place where Signal had provided for us.
10:36:33   5                  Their freedom was not controlled by the company, but
10:36:38   6    our freedom was managed by the company.
10:36:41   7    Q.     So you're saying that you believe that Signal was treating
10:36:47   8    the Indian workers worse than its other workers, right?
10:36:59   9    A.     Yes.
10:36:59 10     Q.     Do you believe that Signal knew it was treating its Indian
10:37:04 11     workers worse?
10:37:10 12     A.     Yes.
10:37:10 13     Q.     Why do you believe that?
10:37:23 14     A.     Many people have told about that, and then, for many, they
10:37:28 15     had set up a target to complete their work.
10:37:32 16     Q.     So when you say many people had told about that, are you
10:37:35 17     saying many Indian workers had told Signal that they feel that
10:37:39 18     way; is that what you mean?
10:37:58 19     A.     The Signal workers, while I was there, the Indian workers
10:38:01 20     had told me that things like this are happening.
10:38:05 21     Q.     Okay.    How did it affect you, believing that Signal was
10:38:10 22     treating you worse than its non-Indian employees?
10:38:16 23              THE INTERPRETER:    Could you please repeat that?
10:38:17 24              MR. BHATNAGAR:    Sure.   I'll say it maybe in a better
10:38:19 25     way.

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10:38:19   1    EXAMINATION BY MR. BHATNAGAR:
10:38:19   2    Q.    How did it affect you personally, believing that Signal
10:38:21   3    was treating you, as an Indian worker, worse than its other
10:38:24   4    employees?
10:38:24   5    A.    It did not affect me that much at work personally, but
10:38:56   6    then, as being a social being, that when I heard about my other
10:39:02   7    friends getting affected, then it affected me as well.
10:39:08   8    Q.    Well, putting aside your work environment, what about your
10:39:12   9    home environment, your housing environment, how did that affect
10:39:16 10     you mentally, if at all?
10:39:46 11     A.    That to live like this, with all other people, with no
10:39:49 12     freedom and not having any privacy, I was unable to make phone
10:39:55 13     calls and have private conversation with my family.
10:40:07 14                When we were complaining there, they were saying
10:40:11 15     that -- they were shouting at us saying Indians are behaving
10:40:18 16     like animals.
10:40:30 17                When I was asking them once to improve my living
10:40:36 18     conditions, they were saying that, this is not your India, this
10:40:40 19     is America.   If you have to live here, you keep quiet, shut up
10:40:47 20     and sit down.
10:40:48 21     Q.    So you asked Signal to treat the Indian workers better?
10:40:53 22     A.    Yes, I have asked them many times.
10:41:02 23     Q.    You spoke out not only on behalf of yourself, but also on
10:41:06 24     behalf of other Indian workers?
10:41:17 25     A.    Yes, I had spoken on behalf of everybody.

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10:41:19   1    Q.    What consequences, if any, did you face as a result of
10:41:25   2    speaking out?
10:41:43   3    A.    Once, at the company meeting, I had spoken to the camp
10:41:52   4    manager in the meeting for all of us.       Then, at that time, I
10:42:11   5    was told that this is not India, this is America, and if you
10:42:18   6    are to live here, then you should keep quiet, and I was ordered
10:42:23   7    to shut up and sit down.
10:42:32   8                Then they had targeted me from that, up until the
10:42:39   9    point that they had -- that they were about -- they targeted
10:42:47 10     me, and, as a result, they were also firing me from the
10:42:51 11     company.
10:42:51 12     Q.    So you believe you were fired for speaking out on behalf
10:42:56 13     of the Indian workers?
10:43:11 14     A.    Definitely.   I did not have any problem at all at my work,
10:43:15 15     and only because I spoke like this that they fired me.
10:43:19 16     Q.    Mr. Sabulal, can you speak a little bit louder also.
10:43:22 17     Thank you.
10:43:23 18                 Did you ever receive a written warning at Signal?
10:43:32 19     A.    No, never.
10:43:32 20     Q.    Did you personally ever receive a verbal warning at
10:43:39 21     Signal?
10:43:44 22     A.    No.
10:43:44 23     Q.    Were you ever disciplined in any way for misconduct at
10:43:51 24     Signal prior to your termination?
10:44:07 25     A.    No, never.    For no reason I have never, ever had spoken

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10:44:13   1    anything bad to anybody or there was -- I've not given any
10:44:16   2    reason for any action against me at all.
10:44:19   3    Q.    Yet Signal eventually terminated you, though, right?
10:44:25   4    A.    Yes.
10:44:25   5    Q.    So what specifically did you ask Signal to do to improve
10:44:29   6    the conditions of the Indian workers?
10:44:31   7    A.    That to improve the living conditions from a room, the way
10:44:54   8    we were living, 24 people together; that to provide us better
10:45:02   9    food than substandard food that they were providing; that we
10:45:13 10     were asking for our rights to be given to us.
10:45:20 11     Q.    Now, in addition to voicing these complaints, did you ever
10:45:24 12     serve as an interpreter for other Indian workers?
10:45:30 13     A.    I did not work as an interpreter as such, but when people
10:45:51 14     are telling me about their requests, I would speak to the
10:45:57 15     company in English on behalf of them.
10:46:00 16     Q.    Now, the requests that you made for better treatment,
10:46:04 17     whether it was on behalf of yourself or other Indian workers,
10:46:07 18     did Signal make the improvements that you requested?
10:46:09 19     A.    They tried to make some changes there, but it was not what
10:46:35 20     we had requested, not what we had requested.
10:46:41 21              THE COURT:    Let's take a break right now.      We have been
10:46:44 22     going for about an hour.
10:46:45 23                    I want to remind the jury of the instructions
10:46:47 24     that I've given you earlier in the trial.        Until the trial is
10:46:50 25     over, you're not to discuss the case with anyone, including

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10:46:53   1    your fellow jurors, members of your family, people involved in
10:46:58   2    the trial or anyone else.
10:47:00   3                   If anyone approaches you and tries to talk about
10:47:02   4    the case, do not tell your fellow jurors, but advise me about
10:47:07   5    it immediately.    You must not communicate with or provide any
10:47:10   6    information to anyone by any means about this case.
10:47:14   7                   You may not discuss this case, even among
10:47:16   8    yourself, until it's concluded and you are instructed to begin
10:47:20   9    your deliberations.
10:47:21 10                    Also, please remember you're not to reach any
10:47:24 11     conclusions in this case until all of the evidence has been
10:47:28 12     presented, the Court has instructed you on the law applicable
10:47:30 13     to the case, and it's given to you for deliberation and
10:47:34 14     decision.
10:47:35 15                    If you need to speak with me about anything,
10:47:38 16     simply give a signed note to the marshal to give to me.
10:47:41 17                    Also, please remember you may not use any
10:47:43 18     electronic device or media to communicate to anyone about the
10:47:48 19     case or to obtain any information about this case.
10:47:52 20                    We will resume at 11 o'clock.
10:48:01 21              THE DEPUTY CLERK:     Everyone rise, please.
10:48:04 22              (WHEREUPON, at 10:48 a.m., the jury panel leaves the
11:05:23 23     courtroom, and the court is in recess.)
11:05:23 24              THE DEPUTY CLERK:     Everyone rise, please.
11:05:25 25              THE COURT:    All right.   So you all can be thinking

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11:05:34   1    about it, after lunch I'm going to ask the jurors individually
11:05:37   2    in the courtroom on the record what their experience was with
11:05:43   3    respect to the interpreter and the plaintiffs, whether they
11:05:46   4    could hear them or not, and just kind of get a feel for it, and
11:05:50   5    then I'll decide what to do.
11:05:51   6                    If you all want to think and give me any
11:05:54   7    suggestions about how you want those questions asked, do that
11:05:58   8    between now and the lunch break, and you can let me know if you
11:06:02   9    have any suggestions.
11:06:08 10               MR. HOWARD:   Your Honor, one thing that came instantly
11:06:11 11     to mind is maybe the questions can be asked separately for each
11:06:14 12     of the two plaintiffs that may be in issue, that it was for
11:06:18 13     Mr. Jacob, and not for Mr. Sony.
11:06:18 14               THE COURT:    Right, yes.   I'm going to do that.
11:06:23 15               MR. HOWARD:   That's about the best I could come up
11:06:25 16     with.    If I think of anything else, I'll let you know.
11:06:28 17               THE COURT:    All right.    Thank you.
11:06:47 18                     Remember, we're taking a lunch break at 1:30
11:06:50 19     today.
11:08:01 20               (WHEREUPON, at 11:08 a.m., the jury panel enters the
11:08:17 21     courtroom.)
11:08:17 22               THE COURT:    Be seated.
11:08:38 23     EXAMINATION BY MR. BHATNAGAR:
11:08:39 24     Q.      Mr. Sabulal, before the break we were speaking about some
11:08:42 25     of the complaints that you had regarding your time at Signal,

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11:08:43   1    but there were also some things that you liked about working at
11:08:46   2    Signal; isn't that right?
11:09:01   3    A.    Yes.
11:09:01   4    Q.    What did you like about your time at Signal?
11:09:04   5    A.    My job there, I liked it more.
11:09:19   6    Q.    What was it about your job that you liked?
11:09:30   7    A.    I worked under a very good foreman.       I believe I had done
11:09:46   8    my work proudly and very honestly and very good.         He was very
11:10:00   9    respectful towards me, as well.
11:10:02 10     Q.    What do you mean by you had done your work proudly?
11:10:23 11     A.    Whatever the job assignment that I was given, I've done it
11:10:26 12     very good, and I got all the support from my foreman for that.
11:10:32 13     Q.    What was your foreman's name?
11:10:35 14     A.    Mike Sawyer.
11:10:37 15     Q.    Now, when you were offered the job at Signal, what were
11:10:41 16     you promised that you would be paid per hour?
11:10:43 17     A.    $18.
11:10:49 18     Q.    How much for overtime?
11:10:56 19     A.    One-and-a-half time.
11:10:57 20     Q.    Was that more money per hour than you had made in any
11:11:03 21     previous job?
11:11:03 22     A.    Yes.
11:11:09 23     Q.    So were you earning more money at Signal than you had
11:11:16 24     previously?
11:11:16 25     A.    Yes.

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11:11:23   1    Q.    The per-hour salary, were you in a better financial
11:11:31   2    position -- strike that.
11:11:34   3                 With your per-hour salary and your deductions, were
11:11:38   4    you in a better financial position than you had previously been
11:11:42   5    with another job?
11:11:58   6    A.    No.
11:11:58   7    Q.    Please explain.
11:12:16   8    A.    When I am factoring in the amount of savings that I put in
11:12:22   9    to get this work or that -- the properties that I had to lose
11:12:30 10     because of getting this work, when I'm comparing the money that
11:12:35 11     I put in, then this is not a very good amount that I was
11:12:39 12     getting.
11:12:41 13     Q.    So the savings that you had put in, are you referring to
11:12:44 14     savings that you had in India?
11:13:06 15     A.    I was saying that the money that I have saved up for my
11:13:11 16     house, and then also the gold ornaments that I got during my
11:13:17 17     wedding, and then the loan that I have taken out included all
11:13:23 18     of those things.
11:13:23 19     Q.    So let's break that part.      You took a loan out in order to
11:13:27 20     come to Signal?
11:13:35 21     A.    I borrowed much money to come to Signal.
11:13:39 22     Q.    You also sold the gold that you got at your wedding?
11:13:50 23     A.    Yes, I have sold them.
11:13:52 24     Q.    You also spent savings; is that what you said?
11:13:55 25     A.    Yes.

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11:13:59   1    Q.      So taking into account what you spent to come to Signal
11:14:04   2    and the deductions that you were having daily at Signal, how
11:14:08   3    did your take-home pay compare to what you were earning in
11:14:12   4    India?
11:14:12   5    A.      It was a very slight difference, and it was not much of a
11:14:43   6    purposeful difference.
11:14:44   7    Q.      So going back to Signal's pay rate, Signal paid you at
11:14:50   8    least $18 an hour the entire time you were there, right?
11:14:53   9    A.      No.
11:15:01 10     Q.      Signal -- let me ask that maybe a better way.      You
11:15:07 11     received an hourly salary of at least $18 an hour at the time
11:15:10 12     you were at Signal, at least, minimum, $18 an hour?
11:15:13 13     A.      Yes.    Yes.
11:15:27 14     Q.      Did you get a raise while you were working at Signal?
11:15:31 15     A.      Yes.    Twice.
11:15:37 16     Q.      Why did Signal give you a raise?
11:15:56 17     A.      It was the reason that I completed all the job assignments
11:15:59 18     that I was given, I'm very good, and my foreman appreciated
11:16:05 19     that and he liked it, and I was very proud of my work, so
11:16:12 20     that's why.
11:16:12 21     Q.      When did you get your first raise at Signal?
11:16:25 22     A.      I think, what I remember, the first one was in January.
11:16:29 23     Q.      Okay.    Let's look at Exhibit 1228.    We'd like to introduce
11:16:34 24     that.
11:16:39 25                    Do you recognize this document, sir?

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11:16:43   1                 If you can zoom in on the top.
11:16:48   2    A.    Yes.    Yes.
11:16:49   3    Q.    What is it?
11:16:56   4    A.    It's a paper that shows my pay raise.
11:16:58   5    Q.    Can you please read the date?
11:17:02   6    A.    February 5, 2007.
11:17:09   7    Q.    Do you see where it says, foreman?       What is the name next
11:17:19   8    to that?
11:17:21   9    A.    M. Sawyer.
11:17:22 10     Q.    Is that Mike Sawyer, who you referred to earlier?
11:17:27 11     A.    Yes.
11:17:28 12     Q.    That was the name of your foreman?
11:17:32 13     A.    Yes.
11:17:32 14     Q.    Do you see the box marked with an X?
11:17:40 15     A.    Yes, I'm seeing that.
11:17:40 16     Q.    What does it say next to that?
11:17:45 17     A.    Merit increase.
11:17:46 18     Q.    Now, I'm going to read the comment below, if we could pull
11:17:50 19     that out.
11:18:00 20                  Vijayan is a very good worker and is self-motivated.
11:18:08 21     The first sentence says, "Vijayan is a very good worker and is
11:18:14 22     self-motivated."     Is that a true statement, Mr. Vijayan?
11:18:25 23     A.    That's right.
11:18:25 24     Q.    The second sentence says, "He has a good attitude about
11:18:31 25     his job."    Did you have a good attitude about your job?

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11:18:44   1    A.      Definitely.
11:18:45   2    Q.      The last sentence says, "He also takes great pride in his
11:18:52   3    work."    Is that a true statement as well?
11:18:53   4    A.      Yes, all the time.
11:19:04   5              MR. BHATNAGAR:     I'm sorry?
11:19:06   6              THE INTERPRETER:    Yes, all the time.
11:19:07   7    EXAMINATION BY MR. BHATNAGAR:
11:19:07   8    Q.      Okay.    Now, let's look at Exhibit 1229, please.
11:19:15   9                   Mr. Vijayan, the exhibit that we just saw, that's not
11:19:18 10     the only pay raise that you got at Signal, is it?
11:19:26 11     A.      That's right.
11:19:26 12     Q.      Actually, my apologies, can we go back to the prior
11:19:31 13     exhibit for a second.      Sorry about that.    If we can close the
11:19:36 14     comment.
11:19:38 15                    Now, I would like you to read your pay raise at the
11:19:43 16     time of the Change of Status Form, Mr. Vijayan, if you can see
11:19:47 17     that.
11:19:59 18     A.      18.5.
11:20:00 19     Q.      $18.50?
11:20:02 20     A.      Yes.
11:20:04 21     Q.      Your pay is being raised to what number?
11:20:10 22     A.      $18.75.
11:20:13 23     Q.      $18.75?
11:20:16 24     A.      Yes.
11:20:18 25     Q.      Now you can now pull up 1229.     Thank you.

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11:20:27   1                 So, Mr. Vijayan, the document that we just saw, that
11:20:31   2    was not your only pay raise at Signal, was it?
11:20:40   3    A.    No.
11:20:41   4    Q.    Do you recognize this document?
11:20:43   5    A.    Yes.
11:20:47   6    Q.    What is it?
11:20:53   7    A.    It's a paper that shows pay raise.
11:20:55   8    Q.    Can you please read the date in the upper right-hand
11:21:00   9    corner.
11:21:11 10     A.    March 5th -- March 5th, 2007.
11:21:15 11     Q.    Do you see above that where there is a stamp that says,
11:21:19 12     "Received"?
11:21:20 13     A.    Yes.
11:21:26 14     Q.    What day is that dated?
11:21:31 15     A.    March 6, 2007.
11:21:33 16     Q.    Do you see where it says, "foreman"?
11:21:40 17     A.    Yes.
11:21:44 18     Q.    What's the name next to that?
11:21:51 19     A.    Mike Sawyer.
11:21:52 20     Q.    That's the same Mike Sawyer that was your foreman the
11:21:59 21     entire time you were at Signal?
11:22:00 22     A.    Yes.
11:22:01 23     Q.    Now, do you see the box with the X?
11:22:08 24     A.    Yes, I'm seeing it.
11:22:09 25     Q.    Can you read the word that is next to that?

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11:22:15   1    A.      Merit increase.
11:22:16   2    Q.      Now, your pay raise at the time of this merit increase was
11:22:23   3    what?
11:22:29   4    A.      $18.75.
11:22:34   5    Q.      Your pay was being raised to what?
11:22:42   6    A.      $19.25.
11:22:44   7    Q.      Okay.    Let's pull out the comment.
11:22:54   8                   The sentence begins, "Sabulal is very capable and
11:22:58   9    competent in his work."      Is that a true statement?
11:23:13 10     A.      That's right.
11:23:13 11     Q.      You felt that you were capable and competent in your work?
11:23:18 12     A.      Yes.
11:23:22 13     Q.      The next sentence says, "He is a very good employee."         Is
11:23:28 14     that a true statement?
11:23:35 15     A.      That's true.
11:23:36 16     Q.      Why were you a very good employee?
11:23:49 17     A.      Whatever the job that I am taking up to do, I always
11:23:53 18     believe that I should do it good, and I always complete it very
11:23:59 19     good.    That's why.
11:24:00 20     Q.      Okay.    So on the 5th of March, 2007, Signal is saying to
11:24:09 21     you that you're capable and competent in your work.         Is that
11:24:13 22     your understanding of this document?
11:24:14 23     A.      Yes.
11:24:25 24     Q.      On the 5th of March, 2007, Signal is calling you a very
11:24:31 25     good employee; is that your understanding?

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11:24:32   1    A.    Yes.
11:24:40   2    Q.    Okay.   Let's look at Demonstrative Number 1.       It's a
11:24:46   3    calendar of March 2007.     This is the day that we just saw that
11:24:55   4    you got your pay raise, right, March 5th?
11:24:58   5    A.    Yes.
11:25:06   6    Q.    This is the day that we saw it was received, right,
11:25:11   7    March 6th?
11:25:11   8    A.    Yes.
11:25:20   9    Q.    Now I'm going to show you a third document, Mr. Sabulal.
11:25:24 10     Let's look at Exhibit 1186, please.       Do you recognize this
11:25:36 11     document?
11:25:36 12     A.    Yes.
11:25:41 13     Q.    What is it?
11:25:52 14     A.    It's a notice that shows I'm terminated.
11:25:56 15              MR. BHATNAGAR:    I'm sorry, can you say that again?
11:25:58 16              THE INTERPRETER:    It's a notice that shows that I'm
11:25:59 17     terminated.
11:26:00 18     EXAMINATION MR. BHATNAGAR:
11:26:00 19     Q.    Okay.   Could you please read the date on the document?
11:26:07 20     A.    March 9, 2007.
11:26:15 21     Q.    Do you see -- thank you.     Do you see where it says,
11:26:24 22     "foreman"?
11:26:24 23     A.    Yes.
11:26:30 24     Q.    What is the name next to that?
11:26:37 25     A.    Nothing is written there.

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11:26:38   1    Q.    And do you see the box marked with an X?
11:26:51   2    A.    Yes, I'm seeing it.
11:26:52   3    Q.    What is written next to that?
11:26:54   4    A.    Termination.
11:26:54   5    Q.    I'm going to pull out the comment.
11:27:04   6                 The sentence begins, "Failure to comply with Signal's
11:27:09   7    requirements and expectations."      Is that a true statement?
11:27:32   8    A.    As a worker, I had done all of my work responsibly and
11:27:39   9    with good quality.     I had lived as per their rules.      I don't
11:27:57 10     know then what Signal requirements or expectations that I did
11:28:01 11     not comply with; only they would know.
11:28:03 12     Q.    Did anyone at Signal ever tell you that you failed to
11:28:08 13     comply with their requirements and expectations?
11:28:19 14     A.    No, never.
11:28:20 15     Q.    No one ever told you that at Signal?
11:28:25 16     A.    No, never.     They never said that.
11:28:27 17     Q.    Now, this document reads March 9th; is that correct?
11:28:33 18     A.    Yes.
11:28:37 19     Q.    Was this document ever shown to you while you were at
11:28:41 20     Signal?
11:28:45 21     A.    No.
11:28:45 22     Q.    Can we pull that demonstrative back up and pull out the
11:28:50 23     week of March 4th, please.
11:29:01 24                  Okay.   So March 5th, you get a raise.
11:29:13 25     A.    Yes.

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11:29:13   1    Q.    March 6th, it's received.
11:29:20   2    A.    Yes.
11:29:20   3    Q.    March 9th, you're terminated.
11:29:26   4    A.    Yes.
11:29:26   5    Q.    You're accused on March 9th of failing to comply with
11:29:33   6    Signal's requirements and expectations, right?
11:29:35   7    A.    Yes.
11:29:44   8    Q.    But no one at Signal told you that you had failed to
11:29:48   9    comply with the requirements and expectations?
11:29:59 10     A.    No one said that.
11:30:00 11     Q.    Okay.   When Signal did not make all the improvements that
11:30:04 12     you asked for, did you seek outside help?
11:30:18 13     A.    Yes, I asked.
11:30:19 14     Q.    Who did you or the other workers ask for help from?
11:30:31 15     A.    We had requested help from the church that's close by
11:30:36 16     there.
11:30:36 17     Q.    Is that the Catholic church?
11:30:39 18     A.    Yes.
11:30:40 19     Q.    Did you seek help from the clergy?
11:30:50 20     A.    Yes, we only got the help through the priest there.
11:30:53 21     Q.    Who did the priest bring in to help you, if anyone?
11:31:10 22     A.    Southern Poverty Law Center attorney was brought in there
11:31:11 23     to help us.
11:31:18 24     Q.    Did you have a meeting with that attorney any time during
11:31:20 25     this week?

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11:31:26   1    A.      Yes, I have.
11:31:26   2    Q.      When?
11:31:30   3    A.      On the 4th.
11:31:31   4    Q.      So you had a meeting with a lawyer and clergy on Sunday,
11:31:37   5    March 4th; is that right?
11:31:45   6    A.      Yes.
11:31:45   7    Q.      Where was the meeting?
11:31:53   8    A.      At Mississippi, in the church, in the hall there.
11:32:02   9    Q.      In the Catholic church?
11:32:03 10     A.      Yes.
11:32:03 11     Q.      What did you discuss at the meeting at the church?
11:32:06 12     A.      We discussed about our problems with them there, and we
11:32:20 13     requested them to help us to solve those problems.
11:32:22 14     Q.      Can I ask you, when you say, "we discussed our problems
11:32:27 15     with them there," can you explain a little clearly what you
11:32:30 16     mean.
11:32:46 17     A.      To improve our living conditions there, and then also that
11:32:52 18     they had been reducing people's wages there, wage rate, so we
11:32:56 19     were talking about those, that we requested that we should be
11:33:04 20     given justice there.
11:33:05 21     Q.      When you say, "we," you're referring to the Indian
11:33:11 22     workers?
11:33:19 23     A.      We were discussing all the time about the Signal -- the
11:33:25 24     Indian workers who were living in Signal's man camp.
11:33:27 25     Q.      What did you learn, if anything, from the meeting at the

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11:33:31   1    church?
11:33:47   2    A.    That they will work along with Signal, that these
11:33:52   3    attorneys will, and would help us get our justice.         That's what
11:33:56   4    they promised.
11:33:57   5    Q.    So the attorneys and clergy that you met with said they
11:34:06   6    would work with Signal; is that your testimony, to help you get
11:34:21   7    justice?
11:34:22   8    A.    Yes.    That's what they said.
11:34:26   9    Q.    Did Signal find out about that meeting with the clergy and
11:34:32 10     the lawyers?
11:34:42 11     A.    Yes, they have.
11:34:42 12     Q.    How do you know that Signal found out about the meeting
11:34:45 13     with the clergy and the lawyers?
11:35:05 14     A.    The Indian people that were unable to participate on that
11:35:09 15     day for that meeting, we went and saw them in their rooms and
11:35:16 16     explained these things to them.
11:35:25 17                  At the time, the company's security officer, Ramesh,
11:35:31 18     was there.    Through him, the company came to know all of it.
11:35:39 19     Q.    When you say Ramesh, what was Ramesh's last name?
11:35:39 20     A.    Gunisetti.
11:35:39 21               THE COURT REPORTER:    Could you spell that?
11:35:39 22               THE INTERPRETER:   G-U-N-A-S-H-E-T-T-Y, phonetically
11:35:39 23     spelled.
11:35:51 24     EXAMINATION BY MR. BHATNAGAR:
11:35:51 25     Q.    Do you believe that Ramesh Gunisetti was informing Signal

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11:36:07   1    management about the meeting that the Indian workers had with
11:36:09   2    the lawyers at the church?
11:36:26   3             THE COURT:    Hold on a second.
11:36:28   4             MR. UNGAR:    Objection, foundation, and he has not
11:36:32   5    established the witness' personal knowledge about this.
11:36:33   6             THE COURT:    It does seem speculative, so I'll sustain
11:36:36   7    the objection.
11:36:37   8    EXAMINATION BY MR. BHATNAGAR:
11:36:38   9    Q.    Okay.   Mr. Sabulal, you testified that the night after the
11:36:44 10     church meeting, you spoke with some other workers in the man
11:36:48 11     camp; is that right?
11:36:48 12     A.    Yes.
11:37:00 13     Q.    You testified that Mr. Ramesh Gunisetti was one of the
11:37:05 14     workers that you spoke to, right?
11:37:16 15     A.    I did not speak with Ramesh Gunisetti.       I was speaking
11:37:22 16     with the other people there.
11:37:23 17     Q.    Was Mr. Gunisetti there when you were speaking with the
11:37:27 18     other people?
11:37:36 19     A.    While we were talking there, Mr. Gunisetti came to know of
11:37:41 20     that, and then he came and stood beside there.
11:37:43 21     Q.    He came and stood beside your conversation?
11:37:46 22     A.    Yes.
11:37:50 23     Q.    What do you believe Mr. Gunisetti did after your
11:37:54 24     conversation?
11:38:08 25     A.    My knowledge, to my knowledge it is -- the company was

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11:38:13   1    using Mr. Gunisetti to know about our things.
11:38:17   2    Q.    Let me ask you to explain that last comment.        You believe
11:38:23   3    that Signal was using Mr. Gunisetti to learn about your things.
11:38:27   4    What do you mean by that?
11:38:29   5             MR. UNGAR:    Objection, Your Honor.
11:38:30   6             THE COURT:    Overruled.
11:38:38   7             THE WITNESS:    Gunisetti had not attended any meeting at
11:38:59   8    all, our meetings.     Then, on the day after coming to know about
11:39:02   9    it, he came and stood beside there on that day.         Then, after
11:39:07 10     knowing it, he was informing the company about our things.
11:39:13 11     EXAMINATION BY MR. BHATNAGAR:
11:39:13 12     Q.    Now, Mr. Sabulal, we talked about your termination on
11:39:18 13     March 9th.   Do you believe that Signal terminated you on
11:39:23 14     March 9th because of your meeting on March 4th with the lawyers
11:39:26 15     and the clergy at the Catholic church?
11:39:30 16     A.    Yes.
11:39:51 17     Q.    So I would like to take you through the week.        The 4th is
11:39:59 18     your church meeting, the 5th is your pay raise; is that right?
11:40:13 19     A.    Yes.
11:40:13 20     Q.    What, if anything, happened on March 6th?
11:40:24 21     A.    On the 6th, I called my wife.      My wife told me that the
11:40:37 22     Indian recruiter for Signal, Sachin Dewan, had called my wife,
11:40:45 23     that she was very afraid.      I told her not to worry, not to
11:40:55 24     fear, I will call Sachin.
11:41:00 25     Q.    Why was your wife very afraid?

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11:41:03   1    A.      Sachin is a business magnet in India.     I believe that
11:41:22   2    Sachin would do anything to stop anything that is affecting his
11:41:30   3    business.    In a country like India, they have the ability to do
11:41:38   4    anything they want.
11:41:40   5    Q.      Did your wife tell you that Mr. Dewan or his office called
11:41:46   6    your home?
11:41:58   7              MR. SHAPIRO:   Objection, hearsay.
11:42:01   8              THE WITNESS:   Yes, they did.
11:42:01   9              THE COURT:   Remember, if there are any objections, that
11:42:03 10     you'll give me a moment to rule before you translate the
11:42:07 11     answer.
11:42:08 12               THE INTERPRETER:    Yes, Judge.   Thank you.
11:42:10 13               THE COURT:   I'm going to overrule the objection.
11:42:26 14               MR. BHATNAGAR:     Can we have the question read back?
11:42:28 15     Thank you.
11:42:34 16               THE COURT:   "And did your wife tell you that Mr. Dewan
11:42:35 17     or his office called your home?"
11:42:40 18               THE WITNESS:   Yes.   My wife had told me that from
11:42:52 19     Dewan's office they have called her.
11:42:54 20     EXAMINATION BY MR. BHATNAGAR:
11:42:55 21     Q.      What was your reaction to getting this news from your
11:42:58 22     wife?
11:43:10 23     A.      I was very afraid.    There was no reason for Sachin to have
11:43:16 24     called my home.
11:43:16 25     Q.      What did you tell your wife, if anything, that you would

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11:43:25   1    do?
11:43:39   2    A.     I told her that I will call Sachin, not to fear.
11:43:42   3    Q.     And did you call Sachin?
11:43:46   4    A.     Yes, I called Sachin.
11:43:47   5    Q.     When did you call him?
11:43:54   6    A.     I called on the 7th, March 7th in the morning.
11:43:58   7    Q.     What did you say to Mr. Dewan?
11:44:11   8    A.     I told Sachin that my wife told me that someone had called
11:44:17   9    her from your office, "And did you happen to call her?"            I
11:44:22 10     asked him that.
11:44:22 11     Q.     What did he say to you?
11:44:28 12     A.     "Yes, that we have called," he said that.       "I heard that
11:44:38 13     you're creating problems there, that I came to know of that.
11:44:44 14     That is the reason I called," he told me.        And then Sachin was
11:44:53 15     threatening me saying that, "If you all are creating a problem
11:44:57 16     there, you all will be sent back to India from there."
11:45:00 17     Q.     What was your reaction to getting this call from
11:45:04 18     Mr. Dewan?   I'm sorry, strike that.
11:45:08 19                 What was your reaction to having the phone call with
11:45:10 20     Mr. Dewan?
11:45:23 21     A.     I was very afraid, so I was very polite when I was
11:45:28 22     speaking with Sachin.     I asked him, "Why were you asking about
11:45:38 23     me?    And why were you -- what is the need for you to talk about
11:45:43 24     me?"    I asked him, "How did you come to know about my name?"
11:45:55 25     At that time he said, "Signal had told me about your name."

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11:45:59   1    Q.    So you talked to your wife on March 6th, and you talked to
11:46:08   2    Mr. Dewan on March 7th; is that right?
11:46:19   3    A.    Yes.
11:46:20   4    Q.    What, if anything, happened on March 8th?
11:46:37   5    A.    On the day shift, on March 8th, just us Indians were sent
11:46:44   6    back from work at about 4 o'clock in the evening, back to the
11:46:48   7    camp, and people that were coming for the night shift, they
11:46:56   8    were asked to wait in the camp, to conduct a meeting with all
11:47:12   9    of the Indian workers.     The Signal vice president and a camp
11:47:19 10     manager and an attorney were gathered there.        In that meeting,
11:47:27 11     they threatened all the Indian workers.
11:47:32 12     Q.    And the meeting took place between the day and the night
11:47:35 13     shift, is that your recollection?
11:47:37 14     A.    Yes.    It was in the evening that they had kept both of the
11:47:59 15     people and did the meeting.
11:48:02 16     Q.    And your recollection is that that meeting involved Signal
11:48:08 17     management?
11:48:09 18     A.    Yes.
11:48:16 19     Q.    And your recollection is that all of the Indian workers
11:48:20 20     living in the man camp were present for that meeting?
11:48:31 21     A.    Yes, everyone were there.
11:48:32 22     Q.    So, Mr. Sabulal, how did you feel on the night of
11:48:37 23     March 8th?
11:48:42 24     A.    I was really afraid after the meeting.       I was really
11:48:55 25     anxious, what is going to happen after the meeting.

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11:49:06   1    Q.    Okay.    Mr. Sabulal, let's now turn to the events of
11:49:12   2    March 9th, 2007.    Can you begin by telling the jury what
11:49:16   3    happened when you first woke up that morning?
11:49:18   4    A.    After I woke up early morning, I did the routines that I
11:49:43   5    do in the morning.     After that, I went to the mess hall to take
11:49:58   6    my food, to eat my food.
11:50:01   7    Q.    What happened, if anything, on the way to the mess hall?
11:50:18   8    A.    While I was walking towards there, in the open space, I
11:50:24   9    saw that all the Indians were gathered together.
11:50:29 10     Q.    Now, let's pull up Exhibit 1190.       If we could zoom in on
11:50:37 11     the top left.
11:50:42 12                  Can you point out the canteen on this exhibit,
11:50:46 13     Mr. Sabulal?    Put an X on it.
11:50:55 14     A.    (Witness complies.)
11:50:56 15     Q.    And could you put a circle around the area which you
11:51:00 16     described as the open space where the workers had gathered?
11:51:13 17     A.    (Witness complies.)
11:51:17 18     Q.    So let the record reflect the witness has circled the area
11:51:21 19     in between the two trailers.
11:51:25 20                  Are those two trailers on either side of the circle
11:51:28 21     that you made, are those TV rooms?
11:51:32 22     A.    Yes.    These two rooms are the TV halls.
11:51:47 23     Q.    And the circled area is where the workers had gathered?
11:51:51 24     A.    Yes.
11:51:53 25     Q.    And about how many workers do you estimate were there when

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11:51:57   1    you were walking toward the mess hall that you saw?
11:52:09   2    A.      What I believe is that at least 150 people would be there.
11:52:13   3    Q.      150 workers were in that area?
11:52:16   4    A.      Yes.
11:52:20   5    Q.      And what happened when you got to that area?
11:52:29   6    A.      I was seeing that everybody was afraid and were standing
11:52:32   7    there.    I asked them, "What is happening here?"       At the time
11:52:43   8    they said that two people were locked up in the TV hall.
11:52:50   9    Q.      Who were the two people that were locked up in the TV
11:52:54 10     hall?    Were they Indian workers or were they other Signal
11:52:59 11     employees?
11:53:04 12     A.      They were Indian workers.
11:53:05 13     Q.      So then what happened after you were told that the workers
11:53:08 14     were locked up in the TV hall?
11:53:23 15     A.      I went to the TV hall and tried to open the door and
11:53:27 16     opened it.
11:53:27 17     Q.      And what happened when you opened the door?
11:53:30 18     A.      A security officer rushed towards me at the time, or
11:53:46 19     charged towards me.     He was trying to close the door.
11:53:56 20     Q.      Can you describe the security officer who rushed towards
11:54:00 21     you?
11:54:00 22     A.      He was a very big man and he was pointing a stick towards
11:54:26 23     me and then was coming at me, and he shouted that I should
11:54:34 24     close the door.
11:54:34 25     Q.      And did you close the door?

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11:54:48   1    A.      I opened the door to see what is happening inside there.
11:54:57   2    I saw two of my friends standing there helplessly, and because
11:55:08   3    of him shouting at me, I was afraid and I immediately closed
11:55:12   4    the door.
11:55:12   5    Q.      Now, the two friends that you saw sitting there, just for
11:55:16   6    the record, those were two Indian workers at Signal, H2B
11:55:26   7    workers?
11:55:27   8    A.      Yes, they are Indian H2B workers.
11:55:35   9    Q.      Can you describe the condition of the workers in that
11:55:38 10     trailer.
11:55:52 11     A.      They were afraid.   They were helpless.     They were humble.
11:55:59 12     They were really shaken.
11:56:01 13     Q.      What happened after the door closed?      What happened next?
11:56:16 14     A.      I walked towards the mess hall where I could eat food.      I
11:56:24 15     was standing in the line where I could get food to eat at the
11:56:36 16     time.
11:56:36 17     Q.      And what happened when you were standing in line waiting
11:56:39 18     to get food?
11:56:52 19     A.      The camp manager, Darrell Snyder, came along with a
11:56:57 20     security guard towards me, that I am under his custody and I
11:57:06 21     should be going along with him to the TV room, that the
11:57:15 22     security guard will also be with you in the room.         I was really
11:57:22 23     afraid.    I asked him, "What is going to happen?"       I asked him,
11:57:35 24     "What is happening?"
11:57:38 25     Q.      Can you clarify, when you say under my custody, who said

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11:57:41   1    that to you?
11:57:41   2    A.      The company's manager, company camp manager,
11:57:52   3    Darrell Snyder.
11:57:53   4    Q.      So it's your testimony that Darrell Snyder told you that
11:57:56   5    you were in his custody?
11:57:57   6    A.      Yes.
11:58:03   7    Q.      So what did you say in response, if anything, to
11:58:07   8    Mr. Snyder?
11:58:11   9    A.      I asked him, "What is happening?     That I have to eat
11:58:21 10     food."
11:58:22 11     Q.      And then what happened?
11:58:34 12     A.      I was afraid and I was shaking, trembling.      I took my food
11:58:38 13     and then went towards a table.       A friend that was beside me,
11:58:54 14     Indian friend, I did tell them that, "Please do not let them
11:58:57 15     take me away from here.      I was speaking on behalf of all of
11:59:01 16     you."    I was shivering.
11:59:22 17               MR. BHATNAGAR:    Can we take a break, Your Honor?
11:59:24 18               THE COURT:   We'll take a break now.      I want to ask the
11:59:29 19     jury to remember the instructions that I've given you
11:59:31 20     previously in the trial.      We'll come back at 12:10.
11:59:37 21               (WHEREUPON, at 11:59 a.m. the jury panel leaves the
12:00:13 22     courtroom.)
12:00:13 23               THE COURT:   The witness, if he would like to take a
12:00:16 24     break, he can, off the stand.       I would like to talk to the
12:00:23 25     lawyers for a minute.

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12:00:23   1                    So with respect to the default judgments, I want
12:00:31   2    to be sure that it's clear to you all what I'm going to do.
12:00:35   3    I'm not entering clerk's default or confirming default against
12:00:40   4    J & M or Global in this trial.       Both corporations are shown in
12:00:47   5    the public records as being dissolved under Mississippi law.
12:00:51   6                    And I want to meet with you Thursday afternoon at
12:00:54   7    5:30 to have our first session to talk about jury instructions.
12:01:00   8    I want to talk about the TVPRA at that time, and I would also
12:01:05   9    like to talk just in general about whether J & M and Global
12:01:12 10     have anything to do with the instructions or anything on the
12:01:15 11     jury verdict form.     For example, even though you're not getting
12:01:18 12     a default against them, are you still trying to hold any of the
12:01:22 13     defendants liable for their actions?
12:01:24 14                     So if you all could be prepared Thursday at 5:30
12:01:28 15     to talk about those two things, the jury instructions and jury
12:01:32 16     verdict form, TVPRA and then J & M and Global kind of in
12:01:39 17     general and whether they affect the jury instructions and jury
12:01:42 18     verdict form.    Do you understand?     Okay.
12:01:47 19                     Then I wanted to ask about what the testimony
12:01:52 20     will be tomorrow.     Who are the witnesses?
12:01:57 21              MR. HOWARD:    Yes, Your Honor.     The live witness
12:01:58 22     tomorrow will be Mr. Padavettiyil.
12:02:06 23              THE COURT:    And then deposition testimony?
12:02:08 24              MR. HOWARD:    Correct, we'll be filling in with
12:02:10 25     deposition testimony.     It's our intent this week to have

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12:02:14   1    Mr. Vijayan on live today, Mr. Padavettiyil live tomorrow, and
12:02:19   2    Mr. Andrews live on Thursday.       And the two experts, Amy Mowl
12:02:25   3    and Cyrus Mehta, live on Friday.       Other than Mr. Khuttan, who
12:02:30   4    is not available until next week, I believe that's all of our
12:02:34   5    live witnesses.     So we would be filling in additional time with
12:02:40   6    deposition reading.
12:02:41   7             THE COURT:    Which depositions will be in your case in
12:02:44   8    chief?
12:02:45   9             MR. HOWARD:    Correct me if I'm wrong, so we've had
12:02:48 10     Mr. Buford.    We have Mr. Rigolo.     We have Mr. Taft.     We have --
12:02:53 11              THE COURT:    Say that again.
12:02:55 12              MR. HOWARD:    Mr. Taft, T-A-F-T.     We have Ms. Stopher.
12:02:59 13     We have Mr. Pastrana, Mr. Tanner, and Mr. Pol.         Mr. Pol is
12:03:10 14     going to be the long one.
12:03:10 15              THE COURT:    Okay.
12:03:18 16              MR. HOWARD:    And how much of that we can get done
12:03:20 17     depends upon lengths of cross and things like that.          I foresee
12:03:24 18     a scenario where we could have that all -- actually, I don't
12:03:31 19     foresee a scenario we get all of that read given the length of
12:03:35 20     Mr. Pol, but assume that we do get that read, that we would be
12:03:39 21     closing Monday.     As I said, Mr. Khuttan is probably not
12:03:42 22     available until Wednesday.      So that means, as we discussed
12:03:46 23     earlier, that we would have Signal start their case and then we
12:03:50 24     can call Mr. Khuttan after one or two of their witnesses.
12:03:54 25              THE COURT:    All right.    Any issues with that,

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12:03:57   1    Ms. Hangartner?
12:03:58   2             MS. HANGARTNER:     Obviously we would rather Mr. Khuttan
12:04:00   3    get on an earlier flight, but --
12:04:02   4             THE COURT:    I think we already crossed that bridge.
12:04:05   5             MS. HANGARTNER:     Just to let the Court know, we are --
12:04:08   6    we've made the statement to opposing counsel previously, excuse
12:04:12   7    me, but as the plaintiffs testify, depending on how their
12:04:17   8    testimony comes out, in other words, what they testified to, we
12:04:20   9    may very well remove some deposition designations.
12:04:24 10              THE COURT:    From even the ones that Mr. Howard
12:04:26 11     mentioned?
12:04:26 12              MS. HANGARTNER:     No.   Those were -- I think those are
12:04:30 13     still going.
12:04:30 14              MR. HOWARD:    Those are going in.
12:04:32 15              THE COURT:    The ones in your case in chief.
12:04:34 16              MS. HANGARTNER:     Yes, Your Honor.
12:04:34 17              THE COURT:    Yes, obviously you all keep evaluating that
12:04:34 18     as we go forward.
12:04:39 19              MR. HOWARD:    The only other variable in the schedule is
12:04:43 20     what the Court decides after hearing from the jury about
12:04:46 21     re-reading because that, I presume, could be done at the end of
12:04:50 22     our case.
12:04:54 23              THE COURT:    All right.    So I'll see you all at 12:10.
12:04:57 24              MR. HOWARD:    Thank you.
12:04:58 25              MS. HANGARTNER:     Thank you, Your Honor.

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12:05:43   1             (WHEREUPON, at 12:05 p.m. the Court took a recess.)
12:14:17   2             THE DEPUTY CLERK:     Everyone rise, please.
12:14:28   3             THE COURT:    Bring the jury back in.
12:15:36   4             (WHEREUPON, at 12:15 p.m. the jury panel enters the
12:16:02   5    courtroom.)
12:16:02   6             THE COURT:    All right.    Be seated.
12:16:08   7    EXAMINATION BY MR. BHATNAGAR:
12:16:16   8    Q.    Mr. Sabulal, before our break, you testified that
12:16:21   9    Mr. Darrell Snyder told you that you were in his custody and
12:16:24 10     that you were requested to sit down and eat some of your food.
12:16:26 11     Do you remember that?
12:16:27 12     A.    Yes, I do.
12:16:44 13     Q.    And then you testified that you tried to speak to some
12:16:48 14     other Indian workers who were in the canteen as well.
12:16:50 15     A.    Yes.
12:16:58 16     Q.    What did you say?
12:17:08 17     A.    "Do not let them take away.      I was speaking on all of your
12:17:16 18     behalves."    I asked them to save me.      They were all afraid and
12:17:31 19     they were all standing there in fear.        No one there could help
12:17:37 20     me.
12:17:38 21     Q.    And take your time when you answer.         What happened next?
12:17:51 22     A.    I tried to eat food.     Because I was shivering, I was
12:18:00 23     unable to eat anything.      That I have lost everything, when I
12:18:09 24     came to know that they are going to be sending me back.             I was
12:18:15 25     thinking that they are going to harm me.        Because I was afraid,

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12:18:22   1    I was unable to eat anything.
12:18:22   2    Q.      So if you were unable to eat anything, what did you do, if
12:18:31   3    anything?
12:18:37   4    A.      I came out, I walked towards my room.      At the time, they
12:18:46   5    were shouting and they were following me.
12:18:49   6    Q.      Who is "they"?
12:18:57   7    A.      Security, the camp manager, Darrell Snyder.       One security
12:19:05   8    was walking beside me.      Then the other person was calling
12:19:16   9    towards me and then walking towards me.        I told them that I had
12:19:25 10     to wash my hand.     After saying that, I did not stop there.       I
12:19:33 11     just kept walking towards the trailer, towards my trailer.          I
12:19:44 12     went inside my trailer.
12:19:46 13     Q.      And did you go wash your hands?
12:19:57 14     A.      I washed my hand.   I did not know what I should be doing.
12:20:11 15     I have spent all of my life earning for this.         I have not
12:20:18 16     harmed anybody.     Whatever jobs Signal had assigned me, I had
12:20:28 17     done it all very good.
12:20:30 18                 I only requested one thing from them, including me,
12:20:40 19     all of my Indian brothers, that they should see as humans and
12:20:50 20     then should provide us a good life.       I was unable to return
12:21:00 21     back.    That I had put in all of my many years of work and
12:21:17 22     savings and I had borrowed loan, I have to sell my gold and
12:21:24 23     then to come here, I cannot -- I would not be able to go back
12:21:28 24     empty-handed.
12:21:39 25                 If I am going back like that, then I would not be

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12:21:42   1    able to face my wife or my children, my family and the society,
12:21:49   2    I would not be able to stand there.       Rather than going back
12:21:58   3    like that, it is better for me to die.        That's what I felt.     I
12:22:09   4    felt I need to do something, but I don't know why I am -- what
12:22:18   5    I'm going to be doing or why I would be doing it.         I got a
12:22:25   6    blade from somewhere and I cut myself.        I cut my arm.
12:22:37   7    Q.    Mr. Sabulal, please take a moment.
12:22:57   8                 After you cut your arm, who was the first person who
12:22:59   9    attended to you?
12:23:16 10     A.    Joseph Jacob.
12:23:17 11     Q.    Is that the same Joseph Jacob who is a plaintiff in this
12:23:22 12     lawsuit?
12:23:22 13     A.    Yes.
12:23:29 14     Q.    And what happened after Mr. Jacob attended to you?
12:23:43 15     A.    Jacob held on to me and took me --
12:23:56 16               THE COURT:   Could you hold on one second.
12:24:12 17               THE INTERPRETER:    Is there a question outstanding?
12:24:12 18     EXAMINATION BY MR. BHATNAGAR:
12:24:14 19     Q.    The question was:      What happened after Mr. Jacob attended
12:24:18 20     to you?
12:24:18 21     A.    With the mental condition I was there at the time, I don't
12:24:43 22     clearly remember anything, whatever happened after that.            All I
12:24:46 23     remember is Jacob was holding me and was taking me to the
12:24:51 24     hospital, I think.
12:24:54 25                  I don't know who were all there at the time there and

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12:25:01   1    who were all there to help me -- who helped me there.          I felt
12:25:10   2    that I'm losing my consciousness.       Other than that, I don't
12:25:17   3    remember anything.
12:25:17   4    Q.    So some of the Indian workers took you to the hospital, do
12:25:28   5    you remember that?
12:25:40   6    A.    Some people that were taking me, I did not know at all
12:25:47   7    those people, but only later on, at the hospital, I came to
12:25:50   8    know those were all the Indian coworkers that had taken me.
12:25:55   9    Q.    Did anyone from Signal management ever visit you in the
12:25:58 10     hospital?
12:26:06 11     A.    No, no one came.     No one came from Signal.
12:26:08 12     Q.    Now, in her opening, Ms. Hangartner, Signal's lawyer, said
12:26:15 13     that Signal made the Indian workers part of the Signal family.
12:26:18 14     Did you feel like part of the Signal family?
12:26:20 15     A.    No, never.    I never felt that way.
12:26:41 16              MR. BHATNAGAR:     I have no further questions,
12:26:43 17     Your Honor.
12:26:52 18              THE COURT:    Mr. Ungar.
12:26:54 19              MR. UNGAR:    Thank you, Your Honor.
12:26:56 20     CROSS-EXAMINATION BY MR. UNGAR:
12:26:57 21     Q.    Mr. Vijayan, my name is Hal Ungar.       I represent Signal.
12:27:38 22     A.    Yes.
12:27:38 23              THE COURT:    Mr. Ungar, in the same way we had with the
12:27:41 24     other witnesses, let's use the same names that the plaintiffs
12:27:45 25     did, just for sake of consistency.       I think they were calling

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12:27:50   1    him Mr. Sabulal.
12:27:50   2    EXAMINATION BY MR. UNGAR:
12:27:52   3    Q.    Mr. Sabulal, I'm going to call you Mr. Sabulal so we're
12:27:56   4    all using the same name for you, if that's okay?
12:27:58   5    A.    Yes.
12:28:03   6    Q.    Thank you.
12:28:05   7                 The first thing that your lawyer asked you to confirm
12:28:08   8    is that you're not a plaintiff in this trial.
12:28:20   9    A.    Yes.
12:28:20 10     Q.    You are a plaintiff in a case against Signal.
12:28:31 11     A.    Yes.
12:28:31 12     Q.    You volunteered to -- well, strike that.
12:28:36 13                  It's just you're not a plaintiff in this trial.
12:28:49 14     A.    Yes.    I know the trial that's presenting now that I'm not
12:28:57 15     a plaintiff.
12:28:58 16     Q.    The reason why you're testifying today is because you
12:29:01 17     volunteered to do so.
12:29:11 18     A.    Yes.
12:29:11 19     Q.    The reason why you're testifying today is because you want
12:29:15 20     to help the plaintiffs in this trial get money.
12:29:36 21     A.    Not just to -- for the money, but to get justice.         That's
12:29:42 22     why I agreed to do this.
12:29:43 23     Q.    And also money.
12:29:52 24     A.    My desire is that justice should be served.
12:29:56 25     Q.    You were asked by your lawyer how much money you earned

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12:30:03   1    per hour at Signal.     Do you remember that?
12:30:16   2    A.    Yes, I remember.
12:30:17   3    Q.    Did you start at Signal at $18.50 per hour?
12:30:27   4    A.    Yes.
12:30:27   5    Q.    And eventually -- well, the last day you worked for Signal
12:30:33   6    as a pipefitter you were earning $19.25 per hour?
12:30:39   7    A.    Yes.
12:30:50   8    Q.    Do you know how much total money you earned at Signal?
12:30:57   9    A.    No.
12:30:57 10     Q.    Let's take a look at your 2006 W-2, which is a part of
12:31:07 11     Exhibit 2098.
12:31:35 12                  Do you recognize this as your 2006 W-2 with Signal?
12:31:39 13     A.    Yes.
12:31:43 14     Q.    You grossed $2,610 in 2006 while working for Signal?
12:31:50 15     A.    Yes.
12:31:59 16     Q.    That was for less than a month of work?
12:32:02 17     A.    Yes.
12:32:09 18     Q.    And let's look at the 2007 W-2, the same exhibit.
12:32:19 19                  You would agree this is your 2007 W-2 from Signal?
12:32:22 20     A.    Yes.
12:32:29 21     Q.    You grossed $13,913.38 in 2007 from Signal?
12:32:36 22     A.    Yes.
12:32:46 23     Q.    That was for less than two and a half months of work?
12:33:02 24     A.    Approximately about three months.
12:33:03 25     Q.    All of January, all of February, and then March 1st

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12:33:08   1    through 9.
12:33:09   2    A.    Yes.
12:33:17   3    Q.    So that's less than two and a half months.
12:33:20   4    A.    Yes.    I was telling you the total time I worked there.
12:33:33   5    Q.    Sure.    Thank you.
12:33:47   6                 I think you testified -- well, let me ask you this:
12:33:49   7    The hourly rate that you were earning as a pipefitter at
12:33:55   8    Signal, that was more than you were earning as a pipefitter in
12:33:57   9    any other country you've ever worked before?
12:34:00 10     A.    Yes.
12:34:11 11     Q.    You worked as a pipefitter before -- the job that you
12:34:18 12     worked before you came to Signal, that was as a pipefitter?
12:34:20 13     A.    Yes.
12:34:28 14     Q.    Can you tell me how much money you were earning as a
12:34:32 15     pipefitter in that job, the one that was before Signal?
12:34:52 16     A.    Do you want me to give the salary in the money there or to
12:34:59 17     dollars here?
12:35:00 18     Q.    Let's start with money there.       I'll probably ask you
12:35:03 19     dollars next.
12:35:16 20     A.    There I was getting 2,000 UAE dirham.
12:35:23 21     Q.    2,000 dirham?
12:35:25 22     A.    Yes.
12:35:26 23     Q.    Do you know how much that was in Indian rupees?
12:35:36 24     A.    That would be about 25,000 Indian rupees.
12:35:41 25     Q.    And that's per month?

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12:35:42   1    A.    Yes.
12:35:43   2    Q.    I understand that this is an estimate.        Do you know about
12:35:49   3    how much that is in U.S. dollars in 2006?
12:36:14   4    A.    I don't know exactly.     Maybe it's about seven or $800.
12:36:19   5    Q.    And you were earning that in the UAE?
12:36:23   6    A.    Yes.
12:36:42   7    Q.    You actually liked working at Signal?
12:36:43   8    A.    Definitely.    I really liked it.
12:36:50   9    Q.    When your lawyer was asking you to explain how you thought
12:36:54 10     you were being treated differently by Signal, you didn't say
12:36:58 11     anything about your job.
12:37:21 12     A.    As far as I am concerned, it never directly affected me
12:37:28 13     because my foreman was very good.
12:37:30 14     Q.    You were never mistreated on the work site?
12:37:43 15     A.    My foreman was behaving very respectfully towards me.
12:37:48 16     Q.    You were never mistreated on the work site?
12:37:58 17     A.    Under that foreman, I was not treated.
12:37:59 18     Q.    And you worked for that foreman the entire time you were
12:38:03 19     at Signal?
12:38:04 20     A.    Yes.
12:38:07 21     Q.    You never saw that foreman mistreat any of the other H2B
12:38:14 22     workers who were on your crew?
12:38:21 23     A.    No.
12:38:22 24     Q.    You testified that your bunkhouse -- what bunkhouse number
12:38:36 25     was it?

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12:38:45   1    A.    I don't remember the number clearly.
12:38:47   2    Q.    That's okay.    I think you said that there were two showers
12:38:51   3    in your bunkhouse?
12:39:01   4    A.    I did not say that.
12:39:02   5    Q.    How many showers?
12:39:03   6    A.    I think there were four showers.       That's what I remember.
12:39:11   7    Q.    Four showers just in your bunkhouse?
12:39:13   8    A.    Yes.
12:39:17   9    Q.    There was also a shower trailer?
12:39:20 10     A.    Yes.
12:39:24 11     Q.    You would use the shower trailer if you needed to?
12:39:27 12     A.    Yes.
12:39:30 13     Q.    When you arrived at Signal, Signal gave you work clothes.
12:39:50 14     A.    Yes, they gave, but they deducted the money for it.
12:39:55 15     Q.    You're saying that Signal charged you money for the work
12:39:58 16     clothes?
12:40:06 17     A.    That's what I remember.
12:40:07 18     Q.    Signal gave you a bin to place under your bed to store
12:40:15 19     your belongings?
12:40:23 20     A.    Yes, they have given me a plastic box.
12:40:28 21     Q.    You would put that underneath your bed?
12:40:31 22     A.    Yes.
12:40:35 23     Q.    So when you were saying that you were putting your clothes
12:40:37 24     under your bed, what you meant is that you were putting your
12:40:39 25     clothes in that bin under your bed?

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12:40:42   1    A.    I would keep all my personal items in that and the
12:41:02   2    clothing were all kept on the bed.
12:41:04   3    Q.    Did Signal give you some money as an advance of your
12:41:10   4    paycheck when you arrived?
12:41:21   5    A.    I don't clearly remember it.
12:41:23   6    Q.    Do you know if other workers, H2B workers that have
12:41:27   7    received money from Signal as an advance so that they could
12:41:29   8    have some money in their pockets when they arrived?
12:41:46   9    A.    I don't clearly remember it.
12:41:47 10     Q.    Let's talk about the phones for a moment.        I think you
12:41:54 11     said that you had problems using the phones at Signal because
12:41:58 12     you would have to wait in line in the cold.
12:42:00 13     A.    Yes.
12:42:15 14     Q.    Did you buy a cell phone while you were at Signal?
12:42:20 15     A.    Yes, I bought it.
12:42:21 16     Q.    That was the phone you could use to call home?
12:42:34 17     A.    Until we could get our Social Security, we did not have an
12:42:40 18     option to buy our cell phone.
12:42:45 19     Q.    Explain to me why not having a Social Security number
12:42:48 20     prevents you from getting a phone.
12:43:04 21     A.    Without the Social Security number, the agent would not
12:43:07 22     give us the phone, so we did not have a phone.
12:43:10 23     Q.    It was a short period of time after your arrival before
12:43:14 24     you received your Social Security number, isn't that true?
12:43:16 25     A.    I don't exactly remember for how many days.

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12:43:31   1    Q.    It was days, not weeks?
12:43:33   2    A.    It was weeks.
12:43:39   3    Q.    On the day of your orientation at Signal, there was a
12:43:43   4    representative from the Social Security office to assist you in
12:43:46   5    getting a Social Security number.
12:43:58   6    A.    Yes.
12:43:58   7    Q.    After you bought your cell phone, you didn't have to wait
12:44:02   8    in the cold to call home?
12:44:04   9    A.    After I bought it, I did not have to.
12:44:16 10     Q.    Do you remember when your lawyer asked you why you didn't
12:44:24 11     just go back to India?
12:44:32 12     A.    Yes, I remember.
12:44:33 13     Q.    Your response was about the amount of money that you had
12:44:36 14     paid in order to come to the United States.
12:44:48 15     A.    Yes.
12:44:48 16     Q.    Your decision to pay a lot of that money was before you
12:44:51 17     had even heard of Signal.
12:45:00 18     A.    Yes.
12:45:00 19     Q.    I think that you named for me three ways in which you put
12:45:12 20     the money together to make the payments.        They were a loan,
12:45:19 21     gold ornaments, and I think it was something to do with
12:45:23 22     property; is that correct?
12:45:24 23     A.    Yes.
12:45:44 24     Q.    You never told Signal that you sold gold ornaments to come
12:45:50 25     to the United States.

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12:45:59   1    A.    Signal knew that we had paid money.
12:46:02   2    Q.    You personally never told Signal that you sold gold
12:46:07   3    ornaments to come to the United States.
12:46:29   4    A.    When we told Signal that we paid money, they did not ask
12:46:34   5    for any explanation.     If they would have asked as to how did
12:46:38   6    you happen to collect the money, then we would have told that,
12:46:44   7    as well.
12:46:44   8    Q.    Like the gold ornaments, you never told Signal that you
12:46:49   9    had to take out a loan.
12:46:50 10     A.    Signal knew that we paid the money.       Signal did not ask
12:47:11 11     for any explanations, so we did not have to tell that.          If they
12:47:18 12     would have, then we could have.
12:47:19 13     Q.    You never told Signal that you spent your house savings to
12:47:22 14     come to the United States?
12:47:37 15     A.    That we had paid the money that we have told the camp
12:47:42 16     manager at Signal.
12:47:43 17     Q.    You never told anyone at Signal specifically the money
12:47:46 18     that you paid, where it came from, and what you went through to
12:47:51 19     get it?
12:48:03 20     A.    No.
12:48:03 21     Q.    Let's talk about the boarding deduction for a moment.
12:48:26 22                  You had testified that if there was a day where you
12:48:30 23     were unable to work because of weather, that you would still be
12:48:35 24     required to pay the boarding deduction; is that right?
12:48:50 25     A.    Yes.

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12:48:51   1    Q.    You were working on a rig?
12:48:53   2    A.    Yes.
12:48:57   3    Q.    So you're out in the elements, and so if it's raining, you
12:49:01   4    can't do what you're supposed to do for your job?
12:49:03   5    A.    Yes.
12:49:14   6    Q.    There were Americans working with you on that rig?
12:49:18   7    A.    Yes.
12:49:21   8    Q.    If your work was canceled for weather, the Americans' work
12:49:27   9    was canceled for weather, too?
12:49:29 10     A.    Yes.
12:49:36 11     Q.    Those Americans, like you, were making money per hour for
12:49:41 12     the work they were doing?
12:49:43 13     A.    Yes.
12:49:50 14     Q.    They were not salaried; there was an hourly rate?
12:49:54 15     A.    Yes.
12:50:01 16     Q.    So, like you, if they weren't working, they weren't
12:50:05 17     getting paid.
12:50:11 18     A.    Yes.
12:50:11 19     Q.    Some of those Americans lived in apartments?
12:50:13 20     A.    Yes.   They could be.
12:50:20 21     Q.    They had to pay rent.
12:50:24 22     A.    Yes.
12:50:24 23     Q.    They had to pay rent for the days when it was raining,
12:50:28 24     too, didn't they?
12:50:28 25     A.    Yes.

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12:50:33   1    Q.    Just like you?
12:50:35   2    A.    No.    I need to explain that.
12:50:44   3    Q.    Of course.
12:50:58   4    A.    For us, we had to pay 1,050 a month.        If we were outside
12:51:05   5    in apartment, it's not going to be costing us that much, and
12:51:08   6    they had that freedom.
12:51:09   7    Q.    A thousand fifty per month, right?
12:51:12   8    A.    Yes.
12:51:14   9    Q.    That covered where you lived?
12:51:21 10     A.    Yes.
12:51:22 11     Q.    Your food?
12:51:23 12     A.    Yes.
12:51:25 13     Q.    The Internet?
12:51:26 14     A.    Yes.
12:51:28 15     Q.    Laundry room?
12:51:32 16     A.    Yes.
12:51:32 17     Q.    Phones?
12:51:33 18     A.    Yes.
12:51:36 19     Q.    Transportation?
12:51:44 20     A.    Weekly, twice.
12:51:45 21     Q.    You didn't eat spoiled food at Signal?
12:51:57 22     A.    I have.
12:51:57 23     Q.    Your testimony is that the food was spoiled?
12:52:01 24     A.    Many times.
12:52:07 25     Q.    You never -- you never missed work because of an illness

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12:52:10   1    that you say was caused by the food?
12:52:12   2    A.    When the food was bad, I would have to eat some of the
12:52:29   3    things, and then I would go to work.
12:52:31   4    Q.    You never missed work for an illness that you alleged was
12:52:35   5    caused by the food?
12:52:46   6    A.    No.
12:52:47   7    Q.    You never got sick at all while you were at Signal?
12:52:49   8    A.    No.
12:52:53   9    Q.    Let's talk about orientation for a moment.        Do you
12:53:06 10     remember during orientation if you were fitted for a
12:53:09 11     respirator?
12:53:12 12     A.    Yes.
12:53:19 13     Q.    You were fitted for one during the orientation, which was
12:53:22 14     the first full day that you were at Signal?
12:53:24 15     A.    Yes.
12:53:35 16     Q.    Any time you wanted to use that respirator while you were
12:53:40 17     at Signal, you could do that?
12:53:41 18     A.    Yes.
12:54:10 19     Q.    Let's talk about the meetings that you would attend with
12:54:15 20     Signal management where you would voice complaints to Signal.
12:54:18 21     I think you talked about that a little while ago.
12:54:35 22     A.    Yes.
12:54:35 23     Q.    You would kind of be a spokesperson for the workers at
12:54:40 24     these meetings?
12:54:45 25     A.    Yes.

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12:54:45   1    Q.     You would take what the workers were saying to you that
12:54:49   2    they wanted to say to Signal, and you would deliver that
12:54:51   3    message to Signal?
12:54:55   4    A.     Yes.
12:55:02   5    Q.     How would you do that?     Would you do that in English?
12:55:09   6    A.     Yes.
12:55:09   7    Q.     Because you speak English?
12:55:14   8    A.     As needed.
12:55:14   9    Q.     It was sufficient for you to deliver the messages of your
12:55:22 10     coworkers to Signal so that Signal understood them?
12:55:24 11     A.     Yes.
12:55:30 12     Q.     At these meetings, you would threaten Signal management?
12:55:33 13     A.     Never.
12:55:39 14     Q.     You would get in their faces and make demands, wouldn't
12:55:39 15     you?
12:55:51 16     A.     I would present the problems.
12:55:53 17     Q.     You would stand on your chair and yell at Signal?
12:56:03 18     A.     I never did that.
12:56:04 19     Q.     Did you ever demand a green card from Signal?
12:56:21 20     A.     I have not demanded it.     Signal has told me that.
12:56:24 21     Q.     You would say to Signal, no green card, no peace?
12:56:33 22     A.     I have never said that.
12:56:39 23     Q.     If Signal were to refer to you is an organizer of the men,
12:56:43 24     you would agree with that?
12:56:51 25              MR. BHATNAGAR:     Objection, Your Honor.     May we

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12:56:51   1    approach?
12:56:51   2              (WHEREUPON, at this point in the proceedings, a
12:56:53   3    conference was held at the bench.)
12:57:08   4              MR. BHATNAGAR:    Out of an abundance of caution, I just
12:57:12   5    wanted to remind Mr. Ungar that the questions he asked are
12:57:21   6    pertaining to the time period that Mr. Vijayan was at Signal,
12:57:24   7    and that last question could have been interpreted in an
12:57:27   8    open-ended way meaning ever.
12:57:28   9                    So if he meant just while he was at Signal, if he
12:57:31 10     could clarify that, then there is no issue.         I just wanted to
12:57:33 11     make sure the temporal restriction is there.
12:57:36 12               MR. UNGAR:   I will.
12:57:36 13               MR. BHATNAGAR:    Thank you, Your Honor.
12:57:38 14               THE COURT:   It's been resolved.
12:57:39 15               MR. UNGAR:   Thank you, Judge.
12:57:39 16               (WHEREUPON, at this point in the proceedings, the bench
12:57:55 17     conference concluded.)
12:57:55 18     EXAMINATION BY MR. UNGAR:
12:57:56 19     Q.    Let me reask my question.      If Signal were to say that
12:57:58 20     while you were working for Signal you were an organizer of the
12:58:03 21     H2B workers, that's something you would agree with?
12:58:19 22     A.    No.
12:58:19 23     Q.    Before we talk about the day that you -- your last day at
12:58:38 24     Signal, I want to ask you about the meetings at the Catholic
12:58:41 25     church.

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12:58:53   1    A.    Okay.
12:58:53   2    Q.    You testified that you were meeting with Southern Poverty
12:59:00   3    Law Center?
12:59:04   4    A.    Yes.
12:59:06   5    Q.    Besides you and other H2B workers and a representative
12:59:13   6    from the Southern Poverty Law Center, was anybody else at that
12:59:20   7    meeting?
12:59:27   8    A.    Yes, they were.
12:59:27   9    Q.    Who else?
12:59:40 10     A.    The charity people at the Mississippi, and then charity
12:59:44 11     people from New Orleans were there.
12:59:46 12     Q.    Do you remember any of their names?
12:59:48 13     A.    Yes.
12:59:53 14     Q.    If you can?
12:59:54 15     A.    Patricia Iso [spelled phonetically].        She was from -- Ira
01:00:13 16     was from -- a worker from Mississippi.        Then from New Orleans
01:00:23 17     Workers' Center, it was Saket Sony.
01:00:26 18     Q.    I think you testified -- I wrote down what you said.            It
01:00:30 19     says, "We requested justice there at this meeting."          Do you
01:00:33 20     remember saying that?
01:00:33 21     A.    Yes.
01:00:47 22     Q.    At this meeting, what was the response to your request for
01:00:50 23     justice?
01:00:51 24     A.    That they will work, along with Signal, to get our dignity
01:01:14 25     and justice, that they would help solve our problems.

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01:01:19   1    Q.      Were you asked to do anything at this meeting?
01:01:31   2    A.      We were just presenting our problems.      They were the ones
01:01:34   3    who said they will do it like that.
01:01:36   4    Q.      Who is "they"?
01:01:45   5    A.      The people who were there from Southern Poverty Law Center
01:01:50   6    and the other organizations.
01:01:51   7    Q.      How many times -- well, was that the only time that you
01:01:57   8    met with these people before the day of March 9th?
01:02:01   9              THE INTERPRETER:       Could you please repeat that?
01:02:03 10               MR. UNGAR:     Sure.
01:02:03 11     EXAMINATION BY MR. UNGAR:
01:02:04 12     Q.      You had described a group of people that you met with at
01:02:08 13     the Catholic church.       My question to you is, was that the only
01:02:11 14     time that you met with these people prior to March 9?
01:02:25 15     A.      No.
01:02:25 16     Q.      When else?
01:02:33 17     A.      I remember that I participated in two more times prior to
01:02:36 18     that.
01:02:36 19     Q.      So that's three meetings with these individuals prior to
01:02:41 20     March 9?
01:02:41 21     A.      That's what I remember.
01:02:49 22     Q.      Can you tell me what was discussed?
01:02:57 23     A.      The same issues.
01:02:58 24     Q.      Same stuff?
01:03:01 25     A.      Yes.

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01:03:03   1    Q.    Anything new?
01:03:06   2    A.    No.
01:03:06   3    Q.    After you attended this meeting or meetings prior to
01:03:21   4    March 9, you went back to your -- to the man camp and told
01:03:25   5    other workers that weren't attending those meetings about the
01:03:28   6    substance of those meetings?
01:03:45   7    A.    Yes.
01:03:45   8    Q.    You testified that Mr. Ramesh Gunisetti stood next to you
01:03:53   9    during those conversations?
01:04:04 10     A.    Just once, yes.
01:04:05 11     Q.    One time?
01:04:06 12     A.    Yes.
01:04:08 13     Q.    Was that after the first of the three meetings you
01:04:10 14     attended?
01:04:20 15     A.    What I believe, it was the last meeting, after the last
01:04:25 16     meeting.
01:04:25 17     Q.    You don't know whether or not Mr. Gunisetti was telling
01:04:31 18     Signal what you were talking about with your coworkers?
01:04:34 19     A.    That's what I believe.
01:04:43 20     Q.    But you don't know that?
01:04:50 21     A.    I would not know directly.
01:04:52 22     Q.    Now, you testified that you think that the reason why you
01:04:56 23     were terminated was because of the meetings you were having at
01:05:01 24     the church and you talking to the workers about it.
01:05:33 25     A.    Yes.   The reason being I had worked there in Signal with

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01:05:39   1    pride, and I had done a very good job.        I was very happy with
01:05:42   2    my job.      So there was no other reason that I could think
01:05:45   3    related to my work at a job that could have resulted with this.
01:05:51   4    Q.     Nobody from Signal ever told you that the reason why you
01:05:54   5    were being terminated was because of the meetings at the
01:06:03   6    Catholic church?
01:06:06   7    A.     Nothing was said.
01:06:07   8    Q.     Nobody at Signal ever told you why you were being
01:06:20   9    terminated?
01:06:20 10     A.     They didn't even tell me that I'm getting terminated.
01:06:23 11     Q.     You weren't even told that you were being terminated at
01:06:26 12     all?
01:06:30 13     A.     No.
01:06:30 14     Q.     We're going to talk about that in a moment.        I just want
01:06:35 15     to go back to one other thing.
01:06:40 16                   You testified that Sachin Dewan called your wife in
01:06:47 17     India.
01:06:50 18     A.     Yes.
01:06:51 19               MR. BHATNAGAR:    Objection, mischaracterizes prior
01:06:54 20     testimony.      I believe he said Dewan's office.
01:06:56 21               THE COURT:    Overruled, but you can clarify.
01:06:58 22               MR. UNGAR:    Yes, I'll clarify.
01:07:00 23     EXAMINATION BY MR. UNGAR:
01:07:00 24     Q.     You testified that somebody from Sachin Dewan's office
01:07:03 25     called your wife?

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01:07:10   1    A.      Yes.
01:07:10   2    Q.      You don't know if Signal authorized that phone call?
01:07:25   3    A.      When I was talking with Sachin, Sachin had told me that
01:07:29   4    Signal gave him my name.
01:07:31   5    Q.      What I asked you, though, was that you don't know whether
01:07:36   6    or not Signal told Dewan Consultants to call your wife?
01:07:55   7    A.      I don't know like that, but Sachin had told me when I was
01:07:59   8    speaking with him that Signal had called him and told him my
01:08:03   9    name.
01:08:03 10     Q.      That's all you know about that?
01:08:05 11     A.      Yes.
01:08:08 12     Q.      Thank you.
01:08:12 13                    I want to talk to you a little bit about March 9th.
01:08:28 14                    Can we pull up Exhibit 1190, and let's blow up the
01:08:37 15     upper left corner that was blown up before.
01:08:40 16                    I'm going to circle where you said that you saw the
01:08:44 17     folks gathered when you got up in the morning; is that right?
01:08:46 18     I put a circle around --
01:08:55 19     A.      Yes.
01:08:55 20     Q.      The circle is next to the bunkhouse that has the Number 4
01:08:59 21     on it, to the right of that bunkhouse.
01:09:02 22                    That entire area was filled with people when you got
01:09:05 23     up?
01:09:10 24     A.      Yes, ma'am.
01:09:11 25     Q.      There were over a hundred people there?

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01:09:13   1    A.      Yes.
01:09:15   2    Q.      To use a colloquial term, see if we can do it, those
01:09:22   3    people were making a scene?
01:09:27   4    A.      No.
01:09:27   5    Q.      There were just a lot of people together, and they were
01:09:31   6    loud?
01:09:38   7    A.      No.
01:09:38   8    Q.      What were they doing?
01:09:48   9    A.      They were looking at the trailer that was marked four, and
01:09:56 10     were standing there scared.
01:09:57 11     Q.      I'd said over a hundred.    You'd said 150 men?
01:10:06 12     A.      Yes.
01:10:09 13     Q.      Okay.   So let's fast forward in the day a little bit.      Now
01:10:14 14     we're at the point where you're walking to your bunkhouse from
01:10:16 15     the mess hall.
01:10:17 16     A.      Yes.
01:10:28 17     Q.      When you got into the bunkhouse, were there other people
01:10:32 18     in there?
01:10:39 19     A.      There could have been.
01:10:41 20     Q.      There were people definitely right outside your bunkhouse
01:10:45 21     because that's where everybody was congregated?
01:10:58 22               MR. BHATNAGAR:    Objection, Your Honor, assumes facts
01:11:00 23     not in evidence.
01:11:09 24               THE COURT:   Overruled.    You can answer it.
01:11:13 25               THE WITNESS:   In front of that, the security guards

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01:11:22   1    were standing there.     The others were all in the open space.
01:11:26   2    EXAMINATION BY MR. UNGAR:
01:11:27   3    Q.    You don't remember if anybody was inside their bunkhouse?
01:11:34   4    A.    No.
01:11:34   5    Q.    Do you remember where you were when Jacob Joseph saw you
01:11:39   6    for the first time after you were cut?
01:11:57   7    A.    I remember Jacob was holding me and walking beside me.
01:12:01   8    Q.    Did Jacob start to hold you inside the bunkhouse?
01:12:16   9    A.    It could be, because I was in a mental state that I did
01:12:22 10     not know what I was doing.
01:12:23 11     Q.    Okay.    Do you know the name of anybody else that was
01:12:30 12     helping you on that day besides Jacob Joseph?
01:12:47 13     A.    At that time, I did not know.       Later on, I came to know
01:12:50 14     who were all there.
01:12:51 15     Q.    So you know now?
01:12:55 16     A.    Yes.
01:12:57 17     Q.    Who else was there?
01:13:09 18     A.    Shubashidin [spelled phonetically], somebody named like
01:13:10 19     that, and there were some other people like that.
01:13:16 20     Q.    I'm going to ask you a few questions about when you
01:13:20 21     injured yourself, and we can take them slowly.
01:13:35 22                  Which wrist did you cut?
01:13:41 23     A.    My left arm.
01:13:42 24     Q.    You cut it one time?
01:13:50 25     A.    I cut many times.

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01:13:51   1    Q.     Are you saying that you cut one arm many times?
01:13:54   2    A.     Yes.
01:13:58   3    Q.     Was it your left arm?
01:14:04   4              MR. BHATNAGAR:    Asked and answered, Your Honor.
01:14:07   5              MR. UNGAR:   I'm sorry.    I understand.    It was your left
01:14:08   6    arm.
01:14:09   7              THE COURT:   Sustained.
01:14:10   8    EXAMINATION BY MR. UNGAR:
01:14:11   9    Q.     Did you cut across your wrist or up and down?
01:14:25 10     A.     Across.
01:14:25 11     Q.     The several times that you cut, it was always across?
01:14:39 12     A.     I don't remember exactly how all I cut, but I know that I
01:14:44 13     have cut many times.
01:14:46 14     Q.     After you cut yourself, you walked out of the bathroom of
01:14:50 15     the bunkhouse, correct?
01:14:50 16     A.     I don't even clearly remember where I was when I cut
01:15:05 17     myself.
01:15:06 18     Q.     Isn't it true that after you cut yourself, you walked out
01:15:11 19     to show other people your cut?
01:15:19 20               MR. BHATNAGAR:    Objection, Your Honor.     Assumes facts
01:15:22 21     not in evidence.
01:15:24 22               THE COURT:   Overruled.    He's asking him the question.
01:15:27 23     He can answer.
01:15:33 24               THE WITNESS:   I did not do that to show anyone else.
01:15:40 25     EXAMINATION BY MR. UNGAR:

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01:15:41   1    Q.    Just a clarification, are you saying that you did not,
01:15:43   2    immediately after you cut yourself, walk out with your arm up?
01:16:02   3    A.    I know Jacob had taken me from there, but I don't know how
01:16:05   4    and when.
01:16:25   5              MR. UNGAR:   Nearly done, Your Honor.
01:16:26   6    EXAMINATION BY MR. UNGAR:
01:16:26   7    Q.    I believe you testified that it was the debt that made you
01:16:34   8    feel like you needed to injure yourself.        Is that a correct
01:16:38   9    summary of what you said?
01:16:38 10     A.    Not only that.    That to face the society, if I am to go
01:17:09 11     back, that I had lost everything, I have lost my job and had to
01:17:17 12     return like that.
01:17:17 13     Q.    Some of the money that you used to pay the recruitment
01:17:27 14     fees you borrowed from money lenders.
01:17:37 15     A.    Yes.
01:17:37 16     Q.    One of the money lenders that you used to borrow money is
01:17:41 17     someone that you were afraid of on the day that you decided to
01:17:44 18     borrow money from them?
01:18:01 19     A.    Yes.   I was afraid that I need to pay it back.
01:18:04 20     Q.    Part of the fear you were talking about is the fear of
01:18:08 21     those money lenders that you chose to do a deal with?
01:18:13 22     A.    If I am to pay them back the money, then I don't have to
01:18:27 23     fear of them.
01:18:28 24     Q.    And this fear you had prior to ever hearing the name
01:18:36 25     Signal.

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01:18:44   1    A.      No.
01:18:44   2    Q.      You didn't borrow money to pay recruitment fees prior to
01:18:50   3    hearing the name Signal?
01:19:01   4    A.      The initial money that I have spent, I had spent the money
01:19:06   5    that I had.
01:19:07   6    Q.      And you never told Signal about the fact that you borrowed
01:19:21   7    money from someone that you feared in order to come work for
01:19:24   8    them?
01:19:34   9    A.      No.
01:19:36 10               MR. UNGAR:   Nothing further, Your Honor.
01:19:39 11               THE COURT:   Mr. Cerniglia?
01:19:42 12               MR. CERNIGLIA:     No questions, Your Honor.
01:19:43 13               THE COURT:   Mr. Shapiro?
01:19:46 14               MR. SHAPIRO:     No questions, Your Honor.
01:19:47 15               THE COURT:   Any redirect?
01:19:49 16               MR. BHATNAGAR:     Just brief redirect, Your Honor.
01:19:52 17     REDIRECT EXAMINATION BY MR. BHATNAGAR:
01:19:54 18     Q.      Mr. Sabulal, I only have just a few questions for you.
01:19:59 19     Signal's lawyer, Mr. Ungar, asked you about the money you were
01:20:02 20     making in the United Arab Emirates, do you remember that?
01:20:18 21     A.      Yes, I remember.
01:20:19 22     Q.      He asked you to compare that to the hourly rate that you
01:20:23 23     were making at Signal, right?
01:20:24 24     A.      Yes.
01:20:35 25     Q.      He showed you some W2 forms with the money that you made

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01:20:39   1    at Signal, right?
01:20:40   2    A.      Yes.
01:20:46   3    Q.      How much -- could you compare the money you paid to come
01:20:50   4    to Signal versus the money you paid to go to the United Arab
01:20:56   5    Emirates?
01:21:15   6    A.      To go to United Arab Emirates, I did not have to pay any
01:21:21   7    money.    To come here, I had to spend somewhere around 5 and a
01:21:33   8    half lakhs to 6 lakhs.
01:21:34   9    Q.      5 and a half lakhs to 6 lakhs is 500,000 to 600,000
01:21:40 10     rupees?
01:21:40 11     A.      Yes.
01:21:50 12     Q.      What about the living conditions in the UAE compared to
01:21:54 13     the living conditions at Signal, can you compare those?
01:22:08 14     A.      In the UAE, in one room we either had, like, two people in
01:22:14 15     one room or four people in a room.       Here, we had 24 people in
01:22:21 16     one room.
01:22:32 17                    If I am to compare that, I would at least get a
01:22:36 18     hundred square feet of my own space there for myself, but here
01:22:40 19     I would -- hardly would have gotten 30 square feet for my own
01:22:47 20     self.    There, the accommodation was provided for free for us.
01:22:52 21     Q.      The last question I have for you relates to the day of
01:22:59 22     your termination, March 9th.
01:23:10 23                    What was your understanding when Mr. Snyder said to
01:23:15 24     you, as you testified, that you were under his custody?
01:23:30 25     A.      When I was coming towards the mess hall, I saw there were

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01:23:34   1    two people locked up there.      That I was worried that they would
01:23:47   2    also put me in that room and deport me, or I was worried that
01:23:54   3    physically they may harm me.      I was afraid.
01:23:58   4             MR. BHATNAGAR:     I have nothing further, Your Honor.
01:24:01   5             THE COURT:    Thank you.
01:24:02   6                    So we're going to take our lunch break now.         We
01:24:05   7    will come back at 2:30.
01:24:08   8                    I want to remind the jury to follow the
01:24:11   9    instructions that I've given you earlier in the trial until
01:24:14 10     it's over.    You're not to discuss the case with anyone,
01:24:17 11     including your fellow jurors.       You're not to reach any
01:24:20 12     conclusions in the case until all of the evidence has been
01:24:23 13     presented, the Court has instructed you on the law, and it's
01:24:27 14     given to you for deliberation and decision.
01:24:30 15                     Remember, you're not to use any electronic
01:24:33 16     devices to communicate anything about the case or to acquire
01:24:37 17     any information about the case.
01:24:38 18                     So we'll come back at 2:30.
01:24:40 19              THE COURT SECURITY OFFICER:       All rise.
01:24:42 20              (WHEREUPON, at 1:24 p.m., the jury panel leaves the
01:24:45 21     courtroom.)
01:25:19 22              THE COURT:    Be seated for a second.      To the defendants,
01:25:25 23     whatever the plaintiff calls a witness, you all call the
01:25:28 24     witness the same thing.      I don't want to have to keep telling
01:25:31 25     you that.    It just will make it less confusing if we call

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01:25:34   1    everyone by the same name.      Has everybody got that?
01:25:37   2                    I've told you three times now to do that, so I
01:25:41   3    don't expect to have to do it again.
01:25:42   4             MR. UNGAR:    Yes, Your Honor.
01:25:43   5             THE COURT:    Are we starting with the deposition when we
01:25:48   6    come back?
01:25:49   7             MR. HOWARD:    Yes, Your Honor.
01:25:51   8             THE COURT:    Do we have anything to read in the
01:25:53   9    beginning about who the deponent is?
01:25:59 10              MR. HOWARD:    We'll work that out during the break,
01:26:00 11     Your Honor, and work out our order of witnesses, but I think
01:26:03 12     the first would be Pat Stopher, then, I believe, Tom Rigolo,
01:26:08 13     and then Albert Taft.
01:26:12 14              THE COURT:    Just make sure that I have what you want me
01:26:14 15     to read when we start the depositions.
01:26:16 16                     Does anybody have any thoughts about what they
01:26:18 17     would like for me to ask the jurors or the manner in which they
01:26:21 18     would like when I inquire of them whether they were able to
01:26:24 19     hear the testimony of Mr. Sony and Mr. Jacob?
01:26:32 20                     Any suggestions, comments?
01:26:33 21              MR. CERNIGLIA:     I just have a question.     Are you going
01:26:35 22     to do them one at a time with them all sitting there?
01:26:39 23              THE COURT:    I'm going to do it one at a time, with just
01:26:42 24     one juror.    I'll tell them when they go back into the jury room
01:26:46 25     not to talk to their fellow jurors.

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01:26:48   1               MR. CERNIGLIA:    I agree.    Thank you.
01:26:50   2               MR. HOWARD:   I defer to you, Your Honor.
01:26:52   3               MS. HANGARTNER:    As do I, Your Honor.
01:26:54   4               THE COURT:    So I'll see you all at 2:30.
01:26:59   5               THE DEPUTY CLERK:    All rise, please.
           6               (WHEREUPON, at 1:26 p.m., the court was in luncheon
           7     recess.
           8                                    *    *    *
           9
           10                            REPORTER'S CERTIFICATE
           11
           12            I, Cathy Pepper, Certified Realtime Reporter, Registered
           13    Merit Reporter, Certified Court Reporter in and for the State
           14    of Louisiana, Official Court Reporter for the United States
           15    District Court, Eastern District of Louisiana, do hereby
           16    certify that the foregoing is a true and correct transcript to
           17    the best of my ability and understanding from the record of the
           18    proceedings in the above-entitled and numbered matter.
           19
           20
           21                                   s/Cathy Pepper             _____
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